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                                                            UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF DELAWARE


In re: Town Sports International, LLC et al., 1                                                                                             Case No. 20-12168 (CSS)
                                                                                                                     Reporting Period: 11/1/2020 through 11/30/2020


                                                             MONTHLY OPERATING REPORT
                                                                      For the Period of:
                                                 November 1, 2020 through November 30, 2020 for 204 Debtors

                                                   GLOBAL NOTES AND STATEMENTS OF LIMITATIONS AND
                                           DISCLAIMERS REGARDING THE DEBTORS’ MONTHLY OPERATING REPORTS

On September 14, 2020, (the “Petition Date”), Town Sports International, LLC and 161 affiliated entities (collectively, the "Initial Debtors") filed voluntary petitions for
relief under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code"). The Debtors are operating their businesses and managing their property as debtors
in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On September 16, 2020, the Court entered the Order Directing the Joint Administration of
the Debtors’ Chapter 11 Cases [Docket No. 56]. On October 21, 2020, 42 affiliated entities (collectively "Additional Debtors") filed voluntary petition for relief under
the Bankruptcy Code. On October 26, 2020, the Court entered the Order Directing the Joint Administration of the Additional Debtors’ Chapter 11 Cases [Docket No.
342]


Basis of Presentation - The Monthly Operating Report ("MOR") includes activity for all 204 entities (collectively "Debtors"). The Debtors are filing their MOR solely for
the purposes of complying with the reporting requirements applicable in the Debtors’ chapter 11 cases. The financial information contained herein is presented on a
preliminary and unaudited basis, remains subject to adjustments and may not comply in all material respects with generally accepted accounting principles in the United
States of America (“U.S. GAAP”). This MOR should not be relied on by any persons for information relating to future financial conditions, events, or performance of any
of the Debtors. The financial information has been derived from the books and records of the Debtors. This information, however, has not been subject to certain
procedures that would typically be applied to financial information in accordance with U.S. GAAP, and upon application of such procedures, the Debtors believe that the
financial information could be subject to material change. The information furnished in this report includes primarily normal recurring adjustments, but does not include
all adjustments that would typically be made for financial statements prepared in accordance with U.S. GAAP, including to adjustments for income tax provisions and
related deferred tax asset and liability accounts, and certain other asset and liability accounts. The results of operations contained herein are not necessarily indicative of
results which may be expected for any other period or for the full year and may not necessarily reflect the combined results of operations and financial position of the
Debtors in the future. The financial statements of the Debtors' non-debtor affiliates have not been included in the MOR.



Liabilities Subject to Compromise - Liabilities subject to compromise have been reported at the amounts recorded on the Debtors' books and records as of the date of
the MOR. The amounts classified as liabilities subject to compromise in the financial statements included herein are preliminary and may be subject to future
adjustments depending on developments with respect to disputed claims, determinations of the secured status of certain claims, the values of any collateral securing such
claims, rejection of executory contracts, reconciliation of claims, and other events.

Reservation of Rights - Given the complexity of the Debtors’ business, inadvertent errors, omissions, or over inclusion of amounts may have occurred. Accordingly, the
Debtors hereby reserve all of their rights to dispute the validity, status, enforceability, or executory nature of any claim amount, representation or other statement in this
MOR and reserve the right to amend or supplement this MOR, if necessary, but shall be under no obligation to do so.


Reporting Period - Unless otherwise noted herein, the MOR generally reflects the Debtors' books and records and financial activity occurring during the applicable
reporting period. Except as otherwise noted, no adjustments have been made for activity occurring after the close of the reporting period.

Consolidated Entity Accounts Payable, Intercompany transactions, and Disbursement Systems - Cash is received and disbursed by the Debtors as described in the
Final Order (I) Authorizing Debtors to (A) Continue Operating Existing Cash Management System,(B) Honor Certain Prepetition Obligations Related Thereto,(C)
Maintain Existing Business Forms, and (D) Continue to Perform Intercompany Transactions, and (II) Granting Related Relief [Docket No. 221] (the “Cash
Management Order”) and is consistent with the Debtors' historical cash management practices. Generally, intercompany balances relate to transfer of revenues from TSI
Cash Management, LLC and for services provided by Town Sports International, LLC and TSI Cash Management, LLC per an intercompany agreement. In the ordinary
course of business, practically all company transactions, including revenue, credit card transactions, and employee payments generate intercompany claims. Due to the
consolidated cash management reporting system, certain cash payments may be paid out of a legal entity that is different than the legal entity where the expenses were
incurred. Also, certain cash receipts may be received in a legal entity that is different than the legal entity where the accounts receivable is recorded.


Specific MOR Disclosures -
 Notes to Summary of US Trustee Fees Owed: At the request of the US Trustee's office, the Debtors have incorporated a schedule with the estimated disbursements by
 Debtor to calculate the US Trustee's fee for calendar quarter ended November 30, 2020.
  Notes to MOR-1: For the purpose of preparing this MOR-1, cash receipts and disbursements are reflected in the bank account of the Debtor entity that received or
  made such cash receipt/disbursement and such amounts are not allocated to the Debtor entity for which the receipt/disbursement may have been recorded for
  accounting purposes.
  Notes to MOR-1a: Balances shown are book balances for each of the Debtors' bank accounts. The schedule does not include bank accounts or activity for non-debtor
  affiliates.

  Notes to MOR-1b: Schedule of professional fees detailed in MOR-1b includes only restructuring professionals retained by the Debtors and approved by the
  Bankruptcy Court.
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                                                                UNITED STATES BANKRUPTCY COURT
                                                                     DISTRICT OF DELAWARE


In re: Town Sports International, LLC et al., 1                                                                                                   Case No. 20-12168 (CSS)
                                                                                                                           Reporting Period: 11/1/2020 through 11/30/2020


                                                                MONTHLY OPERATING REPORT
                                                                         For the Period of:
                                                    November 1, 2020 through November 30, 2020 for 204 Debtors

                                                     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS AND
                                             DISCLAIMERS REGARDING THE DEBTORS’ MONTHLY OPERATING REPORTS

  Notes to MOR-2: The Statement of Operations is presented for the month ended November 30, 2020 for the 204 Debtors on an individual debtor basis; however, in the
  ordinary course of business, the Debtors manage their business and review their books and records on a consolidated basis. MOR2 reflects the Debtors' reasonable
  efforts to report the statement of operations of each Debtor on an unconsolidated basis.
  Notes to MOR-3: Balance Sheet as of November 30, 2020 is presented on a consolidated basis for the 204 Debtors. Given that the Debtors maintain records in the
  ordinary course of business on a consolidated basis, it is time-consuming and would be unreasonably burdensome for the Debtors to report individual balance sheets for
  each of the 204 Debtors in the time required to file this MOR on a monthly basis. Rather, the Debtors will submit a fourth quarter report with such information on a
  consolidating basis.


[1] The last four digits of Town Sports International, LLC’s federal tax identification number are 7365. The mailing address for Town Sports International, LLC is 399 Executive
Boulevard, Elmsford, New York 10523. Due to the large number of debtors in these cases, for which the Debtors have requested joint administration, a complete list of the Debtors, the
last four digits of their federal tax identification numbers, and their addresses are not provided herein. A complete list of such information may be obtained on the website of the
Debtors’ proposed claims and noticing agent at http://dm.epiq11.com/TownSports, or by contacting the undersigned counsel for the Debtors.
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                                                                      UNITED STATES BANKRUPTCY COURT
                                                                           DISTRICT OF DELAWARE


In re: Town Sports International, LLC et al.                                                                                                             Case No. 20-12168 (CSS)
                                                                                                                                  Reporting Period: 11/1/2020 through 11/30/2020



                                                                           MONTHLY OPERATING REPORT
                                                For the Period of: November 1, 2020 through November 30, 2020 for 204 Debtors



                                                                                                                              Document     Explanation
                                                                                                                              Attached      Attached          Affidavit /
REQUIRED DOCUMENTS                                                                                          Form No.                                      Supplement Attached
Schedule of Cash Receipts and Disbursements                                                                  MOR-1               
   Bank Reconciliation (or copies of debtor's bank reconciliations)                                         MOR-1a                                           See Attestation
   Schedule of Professional Fees Paid                                                                       MOR-1b               
   Copies of bank statements                                                                                                                                 See Attestation
   Cash disbursements journals                                                                                                                               See Attestation
Statement of Operations                                                                                      MOR-2               
Balance Sheet                                                                                                MOR-3               
Status of Postpetition Taxes                                                                                 MOR-4                                           See Attestation
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                                         MOR-4               
  Listing of aged accounts payable                                                                           MOR-4
Accounts Receivable Reconciliation and Aging                                                                 MOR-5               
Debtor Questionnaire                                                                                         MOR-5               


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents are true and correct to the best of my knowledge and




/s/ John C. DiDonato                                                                                              1/26/2021
Signature of Authorized Individual*                                                                        Date


John C. DiDonato                                                                                      PLAN ADMINISTRATOR
Printed Name of Authorized Individual                                                                   Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.




                                                                                                                                                                                 MOR
                                                                                                                                                                                (04/07)
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In re: Town Sports International, et al.                                                                                                                                               Case No. 20-12168 (CSS)
Debtors



                                                         SUMMARY OF US TRUSTEE QUARTER FEES OWED
                                                    FOR CALENDAR QUARTER ENDED NOVEMBER 30, 2020 [Q4 2020]

                                                              Estimated Disbursements Calculated US                                                                Estimated Disbursements Calculated US
     Ref. No.                  Debtor              Case No.          by Debtor         Trustee Fee       Ref. No.                  Debtor               Case No.          by Debtor         Trustee Fee
  11            TSI Holdings II, LLC               20-12167                         $0         $325   1 82          TSI Sheridan, LLC                   20-12249                         $0         $325
  62            Town Sports International, LLC     20-12168                  $994,892        $4,875   5 83          TSI Smithtown, LLC                  20-12250                  $269,258        $1,950
  33            TSI-ATC Holdco, LLC                20-12169                   $96,146          $975   5 84          TSI Society Hill, LLC               20-12251                  $275,646        $1,950
  34            TSI - Lucille 38th Avenue, LLC     20-12170                  $131,691          $975   1 85          TSI South Bethesda, LLC             20-12252                     $1,572         $325
  55            TSI - Lucille Austin Street, LLC   20-12171                  $234,117        $1,950   5 86          TSI South Park Slope, LLC           20-12253                  $279,186        $1,950
  36            TSI - Lucille Kings Highway, LLC   20-12172                  $145,838          $975   1 87          TSI West 41, LLC                    20-12254                       $631         $325
  57            TSI - Lucille Valley Stream, LLC   20-12173                  $228,758        $1,950   1 88          TSI Staten Island, LLC              20-12256                     $1,597         $325
  68            TSI 30 Broad Street, LLC           20-12174                  $756,721        $4,875   6 89          TSI West 48, LLC                    20-12257                  $432,692        $4,875
  19            TSI 555 6th Avenue, LLC            20-12175                     $4,377         $325   1 90          TSI Stoked, LLC                     20-12258                         $0         $325
  1 10          TSI 1231 3rd Avenue, LLC           20-12176                       $922         $325   6 91          TSI Sunnyside, LLC                  20-12259                  $336,839        $4,875
  3 11          TSI Astor Place, LLC               20-12177                  $104,927          $975   2 92          TSI Total Woman Holdco, LLC         20-12260                   $21,613          $650
  6 12          TSI Astoria, LLC                   20-12178                  $795,752        $4,875   1 93          TSI University Management, LLC      20-12261                         $0         $325
  1 13          TSI Avenue A, LLC                  20-12179                     $4,906         $325   6 94          TSI Varick Street, LLC              20-12262                  $435,310        $4,875
  6 14          TSI Bay Ridge, LLC                 20-12180                  $458,347        $4,875   6 95          TSI West 73, LLC                    20-12263                  $468,459        $4,875
  2 15          TSI Bayridge 86th Street LLC       20-12181                   $44,268          $650   6 96          TSI West 80, LLC                    20-12264                  $534,102        $4,875
  6 16          TSI Broadway, LLC                  20-12182                  $453,033        $4,875   4 97          TSI - Lucille Clifton, LLC          20-12265                  $194,699        $1,625
  2 17          TSI Brooklyn Belt, LLC             20-12183                   $51,041          $650   6 98          TSI West 94, LLC                    20-12266                  $762,322        $4,875
  5 18          TSI Carmel, LLC                    20-12184                  $279,300        $1,950   6 99          TSI Allston, LLC                    20-12267                  $390,566        $4,875
  1 19          TSI Cash Management, LLC           20-12185                         $0         $325   6 100         TSI Back Bay, LLC                   20-12268                  $508,623        $4,875
  1 20          TSI Clarendon, LLC                 20-12186                         $0         $325   1 101         TSI West 115th, LLC                 20-12269                       $221         $325
  2 21          TSI Cobble Hill, LLC               20-12187                   $28,031          $650   6 102         TSI West 125, LLC                   20-12270                  $881,868        $4,875
  6 22          TSI Columbia Heights, LLC          20-12188                  $411,842        $4,875   2 103         TSI Bayonne, LLC                    20-12271                   $31,947          $650
  4 23          TSI Commack, LLC                   20-12189                  $215,730        $1,625   1 104         TSI Beacon Street, LLC              20-12272                         $0         $325
  1 24          TSI Connecticut Avenue, LLC        20-12190                     $1,586         $325   6 105         TSI West 145th Street, LLC          20-12273                  $553,951        $4,875
  1 25          TSI Court Street, LLC              20-12191                       $653         $325   6 106         TSI Boylston, LLC                   20-12274                  $437,587        $4,875
  6 26          TSI Croton, LLC                    20-12192                  $302,771        $4,875   5 107         TSI Bulfinch, LLC                   20-12275                  $228,329        $1,950
  1 27          TSI Deer Park, LLC                 20-12193                     $4,872         $325   2 108         TSI West Hartford, LLC              20-12276                   $30,290          $650
  6 28          TSI Dobbs Ferry, LLC               20-12194                  $620,369        $4,875   4 109         TSI Butler, LLC                     20-12277                  $212,616        $1,625
  1 29          TSI Dupont II, LLC                 20-12195                         $0         $325   6 110         TSI White Plains City Center, LLC   20-12278                  $715,528        $4,875
  6 30          TSI East 23, LLC                   20-12196                  $544,838        $4,875   4 111         TSI Central Square, LLC             20-12279                  $157,873        $1,625
  6 31          TSI East 36, LLC                   20-12197                  $432,676        $4,875   1 112         TSI White Plains, LLC               20-12280                         $0         $325
  6 32          TSI East 51, LLC                   20-12198                  $604,984        $4,875   2 113         TSI Clifton LLC                     20-12281                   $24,954          $650
  6 33          TSI East 76, LLC                   20-12199                  $688,581        $4,875   1 114         TSI Colonia, LLC                    20-12282                         $0         $325
  1 34          TSI East 86, LLC                   20-12200                         $0         $325   6 115         TSI Whitestone, LLC                 20-12283                  $470,299        $4,875
  6 35          TSI East 91, LLC                   20-12201                  $890,268        $4,875   6 116         TSI Davis Square, LLC               20-12284                  $477,281        $4,875
  1 36          TSI First Avenue, LLC              20-12202                         $0         $325   5 117         TSI Dorchester, LLC                 20-12285                  $229,815        $1,950
  6 37          TSI Forest Hills, LLC              20-12203                  $445,344        $4,875   1 118         TSI-HR 13th Street, LLC             20-12286                         $0         $325
  1 38          TSI Gallery Place, LLC             20-12204                       $207         $325   6 119         TSI Downtown Crossing, LLC          20-12287                  $503,299        $4,875
  5 39          TSI Garden City, LLC               20-12205                  $275,241        $1,950   1 120         TSI Elite Back Bay, LLC             20-12288                         $0         $325
  2 40          TSI Garnerville, LLC               20-12206                   $32,561          $650   1 121         TSI-HR 45th Street, LLC             20-12289                         $0         $325
  1 41          TSI Georgetown, LLC                20-12207                         $0         $325   6 122         TSI Fenway, LLC                     20-12290                  $325,865        $4,875
  1 42          TSI Giftco, LLC                    20-12208                         $0         $325   1 123         TSI-HR 76th Street, LLC             20-12291                         $0         $325
  6 43          TSI Glendale, LLC                  20-12209                  $451,734        $4,875   1 124         TSI-HR Whitehall Street, LLC        20-12292                         $0         $325
  5 44          TSI Glover, LLC                    20-12210                  $288,758        $1,950   6 125         TSI Hoboken North, LLC              20-12293                  $457,970        $4,875
  3 45          TSI Grand Central, LLC             20-12211                   $96,666          $975   2 126         TSI Hoboken, LLC                    20-12294                   $27,767          $650
  2 46          TSI Greenpoint, LLC                20-12212                   $30,350          $650   2 127         TSI Jersey City, LLC                20-12295                   $39,949          $650
  1 47          TSI Hartsdale, LLC                 20-12213                         $0         $325   2 128         TSI Lexington (MA), LLC             20-12296                   $20,159          $650
  6 48          TSI Hawthorne, LLC                 20-12214                  $351,039        $4,875   2 129         TSI Livingston, LLC                 20-12297                   $36,883          $650
  6 49          TSI Hicksville, LLC                20-12215                  $379,426        $4,875   1 130         TSI - Northridge, LLC               20-12298                       $528         $325
  6 50          TSI Highpoint, LLC                 20-12216                  $532,839        $4,875   1 131         TSI Placentia, LLC                  20-12299                         $0         $325
  1 51          TSI Holdings (CIP), LLC            20-12217                         $0         $325   1 132         TSI - Alameda, LLC                  20-12300                     $4,168         $325
  2 52          TSI Holdings (DC), LLC             20-12218                   $71,461          $650   1 133         TSI - Cal. Glendale, LLC            20-12301                     $2,011         $325
  1 53          TSI Holdings (IP), LLC             20-12219                         $0         $325   1 134         TSI - San Jose, LLC                 20-12302                     $1,455         $325
  6 54          TSI Holdings (MA), LLC             20-12220                  $305,190        $4,875   1 135         TSI - Irvine, LLC                   20-12303                     $8,514         $325
  1 55          TSI Holdings (MD), LLC             20-12221                         $0         $325   1 136         TSI - Studio City, LLC              20-12304                     $3,033         $325
  3 56          TSI Holdings (NJ), LLC             20-12222                   $79,133          $975   1 137         TSI - Torrance, LLC                 20-12305                         $0         $325
  2 57          TSI Holdings (PA), LLC             20-12223                   $60,606          $650   1 138         TSI - Valencia, LLC                 20-12306                     $3,304         $325
  1 58          TSI Holdings (VA), LLC             20-12224                         $0         $325   1 139         TSI - Topanga, LLC                  20-12307                     $5,813         $325
  6 59          TSI Larchmont, LLC                 20-12225                  $320,218        $4,875   6 140         TSI South End, LLC                  20-12308                  $379,029        $4,875
  1 60          TSI Lincoln, LLC                   20-12226                         $0         $325   1 141         TSI - Westlake, LLC                 20-12309                     $8,330         $325
  5 61          TSI Long Beach, LLC                20-12227                  $281,663        $1,950   5 142         TSI South Station, LLC              20-12310                  $229,852        $1,950
  3 62          TSI Massapequa, LLC                20-12229                   $90,266          $975   4 143         TSI Wayland, LLC                    20-12311                  $153,750        $1,625
  2 63          TSI Morris Park, LLC               20-12230                   $30,379          $650   6 144         TSI Wellesley, LLC                  20-12313                  $676,772        $4,875
  6 64          TSI Murray Hill, LLC               20-12231                  $370,256        $4,875   1 145         TSI Springfield, LLC                20-12314                   $13,264          $325
  6 65          TSI North Bethesda, LLC            20-12232                  $337,357        $4,875   3 146         TSI Wellington Circle, LLC          20-12315                   $82,343          $975
  6 66          TSI Oceanside, LLC                 20-12233                  $302,566        $4,875   6 147         TSI Waltham, LLC                    20-12316                  $861,038        $4,875
  1 67          TSI Pine Street, LLC               20-12234                     $1,375         $325   2 148         TSI Westboro Tennis, LLC            20-12317                   $19,357          $650
  1 68          TSI Providence Eastside, LLC       20-12235                         $0         $325   1 149         TSI Watertown, LLC                  20-12318                       $552         $325
  1 69          TSI Radnor, LLC                    20-12236                       $959         $325   6 150         TSI Westborough, LLC                20-12319                  $301,767        $4,875
  2 70          TSI-ATC Alico Mission, LLC         20-12237                   $23,885          $650   2 151         TSI Westwood, LLC                   20-12320                   $33,316          $650
  6 71          TSI-ATC Ben Pratt, LLC             20-12238                  $578,960        $4,875   2 152         TSI Lynnfield, LLC                  20-12321                   $48,209          $650
  1 72          TSI-ATC Beneva Road, LLC           20-12239                         $0         $325   1 153         TSI Marlboro, LLC                   20-12322                   $12,860          $325
  6 73          TSI-ATC Boyscout, LLC              20-12240                  $496,190        $4,875   1 154         TSI Matawan, LLC                    20-12323                       $429         $325
  1 74          TSI International, Inc.            20-12241                         $0         $325   2 155         TSI Methuen, LLC                    20-12325                   $20,358          $650
  6 75          TSI-ATC Cape Coral, LLC            20-12242                  $458,760        $4,875   1 156         TSI Newark, LLC                     20-12326                         $0         $325
  1 76          TSI-ATC Tamiami Trail, LLC         20-12243                     $9,390         $325   1 157         TSI Newton, LLC                     20-12327                         $0         $325
  6 77          TSI West 16, LLC                   20-12244                  $443,195        $4,875   2 158         TSI Peabody, LLC                    20-12328                   $56,606          $650
  6 78          TSI Rego Park, LLC                 20-12245                  $369,922        $4,875   2 159         TSI Princeton, LLC                  20-12329                   $34,665          $650
  1 79          TSI West 23, LLC                   20-12246                       $857         $325   1 160         TSI Ramsey, LLC                     20-12330                       $383         $325
  6 80          TSI Scarsdale, LLC                 20-12247                  $514,042        $4,875   2 161         TSI Ridgewood, LLC                  20-12331                   $24,227          $650
  1 81          TSI West 38, LLC                   20-12248                         $0         $325   2 162         TSI Salisbury, LLC                  20-12332                   $71,191          $650
      Subtotal: Debtors 1 - 81                                                             $176,800      Subtotal: Debtors 82 - 162                                                             $142,675
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In re: Town Sports International, et al.                                                                                                       Case No. 20-12168 (CSS)
Debtors



                                                                 SUMMARY OF US TRUSTEE QUARTER FEES OWED
                                                            FOR CALENDAR QUARTER ENDED NOVEMBER 30, 2020 [Q4 2020]

                                                                       Estimated Disbursements Calculated US
     Ref. No.                    Debtor              Case No.                 by Debtor         Trustee Fee
  1 163          TSI Great Neck, LLC                 20-12646                            $3,933         $325
  1 164          TSI Mamaroneck, LLC                 20-12661                                $0         $325
  1 165          TSI East 59, LLC                    20-12642                                $0         $325
  1 166          TSI East 41, LLC                    20-12640                                $0         $325
  2 167          TSI Stamford Post, LLC              20-12671                          $21,081          $650
  1 168          TSI 217 Broadway, LLC               20-12637                            $9,316         $325
  1 169          TSI Rodin Place, LLC                20-12668                                $0         $325
  1 170          TSI Syosset, LLC                    20-12673                                $0         $325
  1 171          TSI East Meadow, LLC                20-12644                                $0         $325
  1 172          TSI Greenwich, LLC                  20-12647                                $0         $325
  2 173          TSI Market Street, LLC              20-12662                          $70,452          $650
  1 174          TSI Huntington, LLC                 20-12648                                $0         $325
  1 175          TSI Montclair, LLC                  20-12665                                $0         $325
  1 176          TSI Newbury Street, LLC             20-12667                            $7,123         $325
  1 177          TSI Irving Place, LLC               20-12649                                $0         $325
  1 178          TSI Woodmere, LLC                   20-12678                                $0         $325
  1 179          TSI West Newton, LLC                20-12675                          $13,208          $325
  1 180          TSI West Nyack, LLC                 20-12676                                $0         $325
  1 181          TSI Silver Spring, LLC              20-12669                                $0         $325
  2 182          TSI Somers, LLC                     20-12670                          $38,713          $650
  2 183          TSI Mercer Street, LLC              20-12663                          $17,178          $650
  1 184          TSI Englewood, LLC                  20-12645                                $0         $325
  1 185          TSI East 48, LLC                    20-12641                                $0         $325
  1 186          TSI Midwood, LLC                    20-12664                                $0         $325
  1 187          TSI New Rochelle, LLC               20-12666                                $0         $325
  1 188          TSI East Brunswick, LLC             20-12643                                $0         $325
  3 189          TSI Woburn, LLC                     20-12677                         $122,996          $975
  1 190          TSI West End, LLC                   20-12674                                $0         $325
  2 191          TSI Summer Street, LLC              20-12672                          $37,450          $650
  1 192          TSI Canton, LLC                     20-12639                          $11,625          $325
  1 193          TSI Bradford, LLC                   20-12638                          $10,966          $325
  1 194          TSI Lucille Jersey City, LLC        20-12657                                $0         $325
  1 195          TSI Lucille Ralph Avenue, LLC       20-12658                              $436         $325
  1 196          TSI Lucille St. Nicholas Avenue, LLC20-12660                            $5,945         $325
  1 197          TSI Lucille 89th Street, LLC        20-12651                                $0         $325
  1 198          TSI Lucille Astoria, LLC            20-12652                                $0         $325
  1 199          TSI Lucille Bayshore, LLC           20-12653                                $0         $325
  2 200          TSI Lucille Bronx, LLC              20-12654                          $51,091          $650
  1 201          TSI Lucille Commack, LLC            20-12655                                $0         $325
  1 202          TSI Lucille Holbrook, LLC           20-12656                                $0         $325
  1 203          TSI Lucille Rockville Centre, LLC 20-12659                                  $0         $325
  1 204          TSI Lucille 42nd Street, LLC        20-12650                            $3,492         $325
      Subtotal: Debtors 163 - 204                                                                    $16,250

    Total for Calendar Quarter Ended 11/30/20 US Trustee Fee Due - [Q4 2020]                        $335,725


Note:
Certain Debtors with negative estimated disbursements are reflected as zero.
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In re: Town Sports International, LLC et al.                                                                                                                                                                                        Case No. 20-12168 (CSS)
Debtors                                                                                                                                                                                                       Reporting Period: 11/1/2020 through 11/30/2020




                                                                            SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS1
                                                                                                For the Period of:
                                                                            November 1, 2020 through November 30, 2020 for 204 Debtors

                                                                                                             CURRENT REPORTING PERIOD

    ($ in 000's)
                                                                                                             Town Sports International,
    DEBTOR:                                                           TSI Cash Management, LLC                        LLC                              TSI Holdings II, LLC                  TSI Holdings (DC), LLC             TSI Westboro Tennis, LLC

    CASH BALANCE BEGINNING OF PERIOD                                  $                           23,228     $                            1,177    $                               51    $                        (68) $                              25

    RECEIPTS
    OPERATING RECEIPTS, NET [2]                                                                    5,197                                      -                                      -                                 -                               (0)
    DIP PROCEEDS                                                                                   6,625                                      -                                      -                                 -                                -
    INTRA-DEBTOR TRANSFER                                                                         17,524                                      -                                      -                                 -                                -
    OTHER RECEIPTS [3]                                                                               924                                      0                                      -                                 -                                -
    TOTAL RECEIPTS                                                                                30,271                                      0                                      -                                 -                               (0)
    DISBURSEMENTS
    PAYROLL                                                                                        3,464                                      -                                      -                                1                                    -
    OTHER OPERATING DISBURSEMENTS                                                                  7,472                                      -                                      -                                -                                    -
    RESTRUCTURING PROFESSIONAL FEES                                                                1,432                                      -                                      -                                -                                    -
    INTRA-DEBTOR TRANSFER                                                                         17,524                                      -                                      -                                -                                    -
    TRANSFER TO AFFILIATE [4]                                                                        450                                      -                                      -                                -                                    -
    U.S. TRUSTEE QUARTERLY FEES                                                                       78                                      -                                      -                                -                                    -
    OTHER [5]                                                                                          1                                    300                                      -                                -                                    -
    TOTAL DISBURSEMENTS                                                                           30,422                                    300                                      -                                1                                    -
    NET CASH FLOW                                                                                    (150)                                 (300)                                     -                                (1)                              (0)
    CASH BALANCE END OF MONTH [6]                                                                 23,078                                    877                                    51                             (69)                                25
    DISBURSEMENTS FOR CALCULATING
    U.S. TRUSTEE QUARTERLY FEES
    TOTAL DISBURSEMENTS                                               $                           30,422     $                              300    $                                 -   $                            1     $                              -
    LESS: TRANSFERS TO DEBTOR IN POSSESSION
    ACCOUNTS                                                                                      (17,524)                                     -                                     -                                 -                                   -

    TOTAL DISBURSEMENTS FOR CALCULATING
    U.S. TRUSTEE QUARTERLY FEES                                       $                           12,897     $                              300    $                                 -   $                            1     $                              -

    Notes:
    1: The information contained herein is provided to fulfill the requirements of the Office of the United States Trustee. All information contained herein is unaudited and subject to future adjustment.
    2: Operating receipts are net of chargebacks and processing fees.
    3. Other receipts include approximately $624k of tax refunds received on behalf of an affiliate and relief of contra account for the release of drawn letters of credit.
    4. Transfer to affiliate reflects return of tax refund received on behalf of an affiliate, less reimbursement of insurance premiums.
    5. Other disbursements represent bank fees and draw on letters of credit.
    6: The cash and cash equivalents on the Debtors' balance sheet in MOR-3 reflects a contra asset of $68k against restricted cash. Those amounts are included in MOR-1 but not MOR-1A.




                                                                                                                                                                                                                                                     FORM MOR-1
                                                                                                                                                                                                                                                          (04/07)
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In re: Town Sports International, LLC et al.                                                                                                               Case No. 20-12168 (CSS)
Debtors                                                                                                                             Reporting Period: 11/1/2020 through 11/30/2020




                 BANK RECONCILIATIONS, BANK STATEMENTS AND CASH DISBURSEMENTS JOURNAL1
                                                 For the Period of:
                             November 1, 2020 through November 30, 2020 for 204 Debtors


Bank Account Reconciliations & Cash Disbursement Journals
The Debtors affirm that bank reconciliations are prepared for all open and active bank accounts on a monthly basis. The Debtors affirm that within its financial accounting
systems, check registers and disbursements journals are maintained.
Bank Statements
The Debtors affirm that bank statements for all open and active bank accounts are retained by the Debtors.
Closed Bank Accounts
The Debtors affirm that no bank accounts were closed during the current reporting period.
Opened Bank Accounts
The Debtors affirm that no bank accounts were opened during the current reporting period.
Listing of Debtors Open Bank Accounts and Bank Balances ($ in 000's) as of November 30, 2020
             Debtor Name                      Bank Name                                 Account Type                                 Last 4 digits         Book Balance [2]
TSI Cash Management, LLC                BOA                         TSI MOSO Concentration account                                      4583           $                6,454
TSI Cash Management, LLC                BOA                         Deposit Account for Corporate Checks                                8141                            5,355
TSI Cash Management, LLC                DEUTSCHE                    Accounts Payable Checks                                             2488                           (1,321)
TSI Cash Management, LLC                DEUTSCHE                    Accounts Payable ACH                                                4496                            4,572
TSI Cash Management, LLC                CHASE                       Payroll Direct Deposit                                              0031                              772
TSI Cash Management, LLC                BOA                         Payroll Live Checks                                              2050 / 2060                         (296)
TSI Cash Management, LLC                BOA                         BOA Lock Box                                                        0123                              546
TSI Cash Management, LLC                BOA                         MOSO ACH                                                            0733                              618
TSI Cash Management, LLC                BOA                         Petty Cash/Certified Checks                                         9727                                 1
TSI Cash Management, LLC                BOA                         Cash Deposits                                                       9714                                 -
TSI Cash Management, LLC                CHASE                       Petty Cash                                                          5965                                 -
TSI Cash Management, LLC                CHASE                       Money Market Account                                                7775                                 -
TSI Cash Management, LLC                CHASE                       Chase Sweep Account                                                 3300                            6,446
TSI Cash Management, LLC                DEUTSCHE                    Corporate Sales Account                                             3272                                 -
TSI Cash Management, LLC                DEUTSCHE                    Overnight Sweep/Interest Account                                    7970                                 -
TSI Holdings II, LLC                    DEUTSCHE                    Dividend payouts Fund                                               5407                                51
TSI Holdings (DC), LLC                  PNC                         Payroll                                                             0914                              (69)
TSI Westboro Tennis, LLC                BOA                         Westboro ACH receipts                                               6277                                25
Town Sports International, LLC          Bank United                 Money Market Account / Letter of Credit                             0553                                66
Town Sports International, LLC          Bank United                 Operating Account                                                   3840                              800
Town Sports International, LLC          BOA                         Money Market Account                                                3415                                11
Total [3]                                                                                                                                              $                 24,031

Notes:
1: The information contained herein is provided to fulfill the requirements of the Office of the United States Trustee. All information contained herein is unaudited and
subject to future adjustment.
2: Balances shown are book balances for each of the Debtors' bank accounts. The schedule does not include bank accounts or activity for current non-debtor affiliates.
3: The cash and cash equivalents on the Debtors' balance sheet in MOR-3 reflects a contra asset of $68k against restricted cash. Those amounts are included in MOR-1 but
not MOR-1A.




                                                                                                                                                                                     FORM MOR-1a
                                                                                                                                                                                           (04/07)
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In re: Town Sports International, LLC et al.                                                     Case No. 20-12168 (CSS)
                                                                           Reporting Period: 11/1/2020 through 11/30/2020
                       Debtors

                              SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID



                Professional                         Role / Capacity                Amount Paid           Total Paid to Date
Houlihan Lokey Capital, Inc.          Debtors' Investment Banker               $                -     $                250,000
Epiq Corporate Restructuring LLC      Debtors' Claims and Noticing Agent       $          1,431,837                  1,431,837




                                                                                                                                 FORM MOR-1b
                                                                                                                                       (04/07)
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In re: Town Sports International, LLC et al.                                                                                                                             Case No. 20-12168 (CSS)
                    Debtors                                                                                                         Reporting Period: 11/1/2020 through 11/30/2020 for 204 Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                    20-12167               20-12241                 20-12261                20-12217                 20-12221            20-12224             20-12219                 20-12185
                                                                                                                  TSI University                                                           TSI
                                                                TSI Holdings II,       TSI International,         Management,           TSI Holdings               TSI Holdings          Holdings           TSI Holdings              TSI Cash




                                                        Notes
                         Account                                     LLC                      Inc.                     LLC               (CIP), LLC                 (MD), LLC           (VA), LLC            (IP), LLC             Management, LLC
REVENUES:
Club operations                                                 $              -       $              -       $                 -       $              -       $                -       $      -        $                -         $              -
Fees and other                                                                     -                      -                         -                      -                        -               -                         -                       -
Total Revenue                                                                      -                      -                         -                      -                        -               -                         -                       -


OPERATING EXPENSES:
Payroll and related                                                                -                      -                         -                      -                        -               -                         -                   (46)
Club operating                                                                     -                      -                         -                      -                        -               -                         -                     -
General and administrative                                                         -                      -                         -                      -                        -               -                         0                   (12)
Depreciation and amortization                                                      -                      -                         -                      -                        -               -                         -                     -
Impairment of fixed assets                                                         -                      -                         -                      -                        -               -                         -                       -
Impairment of right-of-use assets                                                  -                      -                         -                      -                        -               -                         -                       -
Impairment of goodwill                                                             -                      -                         -                      -                        -               -                         -                       -
Impairment of intangible assets                                                    -                      -                         -                      -                        -               -                         -                       -
Operating Income                                                                   -                      -                         -                      -                        -              -                         (0)                  58

Gain on extinguishment of debt                                                     -                      -                         -                      -                        -               -                         -                       -
Other (Income) / Expense                                                           -                      -                         -                      -                        -               -                         -                       -
Interest expense                                                                   -                      -                         -                      -                        -               -                         -                       -
Interest income                                                                    -                      -                         -                      -                        -               -                         -                       -
Equity in the earnings of investees and rental income                              -                      -                         -                      -                        -               -                         -                       -
Income (loss) before provision (benefit) for corporate incom                       -                      -                         -                      -                        -              -                         (0)                  58
Total taxes                                                                        -                      -                         -                      -                        -               -                         -                       -


Net income (loss)                                                                  -                      -                         -                      -                        -              -                         (0)                  58
Non-controlling interest                                                           -                      -                         -                      -                        -               -                         -                       -
Net income (loss) attributable to TSI                           $                  - $                    - $                       -   $                  - $                      -   $          - $                       (0) $                58


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                                            FORM MOR-2
                                                                                                                    9 of 40                                                                                                                      (04/07)
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                    20-12200               20-12226              20-12187               20-12199             20-12264              20-12210              20-12202

                                                                                                            TSI Cobble Hill,                                                                         TSI First Avenue,




                                                        Notes
                         Account                                TSI East 86, LLC TSI Lincoln, LLC                LLC                TSI East 76, LLC TSI West 80, LLC TSI Glover, LLC                      LLC
REVENUES:
Club operations                                                 $              -       $               3    $                31     $              287   $              231    $               71    $              -
Fees and other                                                                     -                   -                      -                      -                    -                     -                        -
Total Revenue                                                                      -                   3                     31                    287                  231                    71                        -


OPERATING EXPENSES:
Payroll and related                                                              -                    (0)                     1                     40                   34                    38                        -
Club operating                                                                  23                     7                     67                    171                  178                    34                        2
General and administrative                                                         -                   2                     (10)                   22                   16                     7                        0
Depreciation and amortization                                                      -                   -                      (0)                    6                    9                     4                        -
Impairment of fixed assets                                                         -                   -                       -                     -                    -                     -                        -
Impairment of right-of-use assets                                                  -                   -                    (218)                    -                    -                     -                        -
Impairment of goodwill                                                             -                   -                       -                     -                    -                     -                        -
Impairment of intangible assets                                                    -                   -                       -                     -                    -                     -                        -
Operating Income                                                               (23)                   (6)                   191                    49                    (6)                  (12)                      (3)

Gain on extinguishment of debt                                                     -                   -                       -                     -                    -                     -                        -
Other (Income) / Expense                                                           -                   -                       -                     -                    -                     -                        -
Interest expense                                                                   -                   -                       -                     -                    -                     -                        -
Interest income                                                                    -                   -                       -                     -                    -                     -                        -
Equity in the earnings of investees and rental income                              -                   -                       -                     -                    -                     -                        -
Income (loss) before provision (benefit) for corporate incom                   (23)                   (6)                   191                    49                    (6)                  (12)                      (3)
Total taxes                                                                        -                   -                       -                     -                    -                     -                        -


Net income (loss)                                                              (23)                   (6)                   191                    49                    (6)                  (12)                      (3)
Non-controlling interest                                                           -                   -                       -                     -                    -                     -                        -
Net income (loss) attributable to TSI                           $              (23) $                 (6) $                 191     $              49 $                  (6) $                (12) $                    (3)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                         FORM MOR-2
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                      20-12249                 20-12182               20-12195               20-12196                20-12247               20-12198              20-12246

                                                                    TSI Sheridan,          TSI Broadway,        TSI Dupont II,                                     TSI Scarsdale,




                                                        Notes
                         Account                                        LLC                     LLC                  LLC                 TSI East 23, LLC               LLC             TSI East 51, LLC TSI West 23, LLC
REVENUES:
Club operations                                                 $                -         $              177   $                -       $              211    $                203     $              240    $                0
Fees and other                                                                        -                     -                        -                    -                       -                      -                     -
Total Revenue                                                                         -                   177                        -                  211                     203                    240                     0


OPERATING EXPENSES:
Payroll and related                                                                   -                   37                         -                   37                      38                     41                     0
Club operating                                                                        -                   87                         -                  199                      52                    144                    21
General and administrative                                                            1                   11                         -                   14                         7                   15                     0
Depreciation and amortization                                                         -                   18                         -                   26                         5                   42                     -
Impairment of fixed assets                                                            -                     -                        -                    -                         -                    -                     -
Impairment of right-of-use assets                                                     -                     -                        -                    -                         -                    -                     -
Impairment of goodwill                                                                -                     -                        -                    -                         -                    -                     -
Impairment of intangible assets                                                       -                     -                        -                    -                         -                    -                     -
Operating Income                                                                     (1)                  24                         -                  (66)                    102                     (1)                  (21)

Gain on extinguishment of debt                                                        -                    -                         -                    -                         -                    -                     -
Other (Income) / Expense                                                              -                    -                         -                    -                         -                    -                     -
Interest expense                                                                      -                    1                         -                    1                         0                    -                     -
Interest income                                                                       -                    -                         -                    -                         -                    -                     -
Equity in the earnings of investees and rental income                                 -                    -                         -                    -                         -                    -                     -
Income (loss) before provision (benefit) for corporate incom                         (1)                  23                         -                  (66)                    102                     (1)                  (21)
Total taxes                                                                           -                     -                        -                    -                         -                    -                     -


Net income (loss)                                                                    (1)                  23                         -                  (66)                    102                     (1)                  (21)
Non-controlling interest                                                              -                     -                        -                    -                         -                    -                     -
Net income (loss) attributable to TSI                           $                    (1) $                23    $                    - $                (66) $                  102     $               (1) $                (21)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                               FORM MOR-2
                                                                                                           11 of 40                                                                                                                 (04/07)
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                    20-12203             20-12201               20-12329              20-12197                20-12232              20-12267             20-12280

                                                                TSI Forest Hills,                             TSI Princeton,                                 TSI North                               TSI White Plains,




                                                        Notes
                         Account                                     LLC             TSI East 91, LLC              LLC             TSI East 36, LLC         Bethesda, LLC       TSI Allston, LLC          LLC
REVENUES:
Club operations                                                 $              283   $              343   $                (1) $                 153    $                105    $              141   $              -
Fees and other                                                                   -                    -                     -                      -                       -                     -                      -
Total Revenue                                                                  283                  343                    (1)                   153                     105                   141                      -


OPERATING EXPENSES:
Payroll and related                                                             27                   56                    (0)                    36                     37                    27                       -
Club operating                                                                 127                  155                    (2)                    84                     22                    68                       -
General and administrative                                                      16                   19                        4                  15                     11                    10                       -
Depreciation and amortization                                                   10                   47                        -                  29                      2                     5                       -
Impairment of fixed assets                                                       -                    -                        -                   -                        -                    -                      -
Impairment of right-of-use assets                                                -                    -                        -                   -                        -                    -                      -
Impairment of goodwill                                                           -                    -                        -                   -                        -                    -                      -
Impairment of intangible assets                                                  -                    -                        -                   -                        -                    -                      -
Operating Income                                                               103                  67                     (3)                   (11)                    33                    30                       -

Gain on extinguishment of debt                                                   -                    -                        -                   -                        -                   -                       -
Other (Income) / Expense                                                         -                    -                        -                   -                        -                   -                       -
Interest expense                                                                 1                    -                        -                   -                        -                   0                       -
Interest income                                                                  -                    -                        -                   -                        -                   -                       -
Equity in the earnings of investees and rental income                            -                    -                        -                   -                        -                   -                       -
Income (loss) before provision (benefit) for corporate incom                   102                  67                     (3)                   (11)                    33                    30                       -
Total taxes                                                                      -                    -                        -                   -                        -                    -                      -


Net income (loss)                                                              102                  67                     (3)                   (11)                    33                    30                       -
Non-controlling interest                                                         -                    -                        -                   -                        -                    -                      -
Net income (loss) attributable to TSI                           $              102   $              67 $                   (3) $                 (11) $                  33     $              30    $                  -


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                        FORM MOR-2
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                      20-12294               20-12290               20-12251                 20-12270              20-12192               20-12323               20-12322

                                                                    TSI Hoboken,                               TSI Society Hill,           TSI West 125,                                TSI Matawan,           TSI Marlboro,




                                                        Notes
                         Account                                        LLC              TSI Fenway, LLC            LLC                        LLC             TSI Croton, LLC              LLC                    LLC
REVENUES:
Club operations                                                 $                13      $              101    $                78     $                310    $              117   $                  0   $                10
Fees and other                                                                    -                       -                      -                        -                     -                      -                     -
Total Revenue                                                                    13                     101                     78                      310                   117                      0                    10


OPERATING EXPENSES:
Payroll and related                                                                (1)                   30                     33                       46                   25                      -                      -
Club operating                                                                      4                    70                     61                       78                   38                     (2)                    15
General and administrative                                                         4                     10                      8                       17                    9                     (0)                       1
Depreciation and amortization                                                      -                      4                      9                        2                    9                      -                        -
Impairment of fixed assets                                                          -                     -                        -                       -                    -                      -                       -
Impairment of right-of-use assets                                                   -                     -                        -                       -                    -                      -                       -
Impairment of goodwill                                                              -                     -                        -                       -                    -                      -                       -
Impairment of intangible assets                                                     -                     -                        -                       -                    -                      -                       -
Operating Income                                                                   6                    (12)                   (32)                     167                   36                       2                    (6)

Gain on extinguishment of debt                                                      -                     -                        -                       -                    -                      -                       -
Other (Income) / Expense                                                            -                     -                        -                       -                    -                      -                       -
Interest expense                                                                    -                     0                        -                       -                    -                      -                       -
Interest income                                                                     -                     -                        -                       -                    -                      -                       -
Equity in the earnings of investees and rental income                               -                     -                        -                       -                    -                      -                       -
Income (loss) before provision (benefit) for corporate incom                       6                    (13)                   (32)                     167                   36                       2                    (6)
Total taxes                                                                         -                     -                        -                       -                    -                      -                       -


Net income (loss)                                                                  6                    (13)                   (32)                     167                   36                       2                    (6)
Non-controlling interest                                                            -                     -                        -                       -                    -                      -                       -
Net income (loss) attributable to TSI                           $                  6 $                  (13) $                 (32) $                   167    $              36    $                  2 $                  (6)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                               FORM MOR-2
                                                                                                         13 of 40                                                                                                                   (04/07)
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                    20-12233             20-12256                20-12183               20-12330             20-12283              20-12282                 20-12314

                                                                TSI Oceanside,       TSI Staten Island,        TSI Brooklyn                              TSI Whitestone,                                TSI Springfield,




                                                        Notes
                         Account                                     LLC                    LLC                 Belt, LLC           TSI Ramsey, LLC           LLC              TSI Colonia, LLC              LLC
REVENUES:
Club operations                                                 $              119   $                0    $                28      $              1     $              208    $              -         $              (3)
Fees and other                                                                   -                    -                      -                     -                      -                        -                    -
Total Revenue                                                                  119                    0                     28                     1                    208                        -                   (3)


OPERATING EXPENSES:
Payroll and related                                                            30                     -                       (1)                   -                   23                         -                    -
Club operating                                                                 51                    14                       (7)                  (2)                  76                         -                   (1)
General and administrative                                                       9                    1                       2                    1                    12                         0                    5
Depreciation and amortization                                                    2                    -                       0                    -                     4                         -                    -
Impairment of fixed assets                                                       -                    -                        -                    -                      -                       -                       -
Impairment of right-of-use assets                                                -                    -                        -                    -                      -                       -                       -
Impairment of goodwill                                                           -                    -                        -                    -                      -                       -                       -
Impairment of intangible assets                                                  -                    -                        -                    -                      -                       -                       -
Operating Income                                                               27                   (15)                    34                     3                    92                        (0)                  (7)

Gain on extinguishment of debt                                                   -                    -                        -                    -                      -                       -                       -
Other (Income) / Expense                                                         -                    -                        -                    -                      -                       -                       -
Interest expense                                                                 -                    -                        -                    -                      -                       -                       -
Interest income                                                                  -                    -                        -                    -                      -                       -                       -
Equity in the earnings of investees and rental income                            -                    -                        -                    -                      -                       -                       -
Income (loss) before provision (benefit) for corporate incom                   27                   (15)                    34                     3                    92                        (0)                  (7)
Total taxes                                                                      -                    -                        -                    -                      -                       -                       -


Net income (loss)                                                              27                   (15)                    34                     3                    92                        (0)                  (7)
Non-controlling interest                                                         -                    -                        -                    -                      -                       -                       -
Net income (loss) attributable to TSI                           $              27 $                 (15) $                  34      $              3     $              92     $                  (0) $                (7)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                           FORM MOR-2
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                      20-12275               20-12263               20-12225             20-12189             20-12248                 20-12227             20-12205

                                                                    TSI Bulfinch,                             TSI Larchmont,         TSI Commack,                                  TSI Long Beach,      TSI Garden City,




                                                        Notes
                         Account                                        LLC              TSI West 73, LLC          LLC                    LLC             TSI West 38, LLC              LLC                  LLC
REVENUES:
Club operations                                                 $                   82   $              193   $                123   $              61    $              -         $              70    $              125
Fees and other                                                                       -                    -                      -                   -                        -                    -                     -
Total Revenue                                                                       82                  193                    123                  61                        -                   70                   125


OPERATING EXPENSES:
Payroll and related                                                                 20                  37                     27                   (1)                       -                    4                   20
Club operating                                                                      82                  81                     50                   10                        -                   (4)                  55
General and administrative                                                           7                  12                      9                    4                        1                    5                    9
Depreciation and amortization                                                        3                   9                      2                    -                        -                    -                    5
Impairment of fixed assets                                                           -                    -                      -                   -                        -                    -                     -
Impairment of right-of-use assets                                                    -                    -                      -                   -                        -                    -                     -
Impairment of goodwill                                                               -                    -                      -                   -                        -                    -                     -
Impairment of intangible assets                                                      -                    -                      -                   -                        -                    -                     -
Operating Income                                                                 (30)                   55                     35                   49                       (1)                  66                   34

Gain on extinguishment of debt                                                       -                    -                      -                   -                        -                    -                     -
Other (Income) / Expense                                                             -                    -                      -                   -                        -                    -                     -
Interest expense                                                                     -                    -                      -                   -                        -                    1                     -
Interest income                                                                      -                    -                      -                   -                        -                    -                     -
Equity in the earnings of investees and rental income                                -                    -                      -                   -                        -                    -                     -
Income (loss) before provision (benefit) for corporate incom                     (30)                   55                     35                   49                       (1)                  65                   34
Total taxes                                                                          -                    -                      -                   -                        -                    -                     -


Net income (loss)                                                                (30)                   55                     35                   49                       (1)                  65                   34
Non-controlling interest                                                             -                    -                      -                   -                        -                    -                     -
Net income (loss) attributable to TSI                           $                (30) $                 55    $                35    $              49 $                     (1) $                65    $              34


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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                                                                    20-12190             20-12216               20-12279               20-12191               20-12321                 20-12296                20-12313

                                                                TSI Connecticut       TSI Highpoint,           TSI Central         TSI Court Street,        TSI Lynnfield,           TSI Lexington           TSI Wellesley,




                                                        Notes
                         Account                                 Avenue, LLC               LLC                 Square, LLC               LLC                     LLC                  (MA), LLC                  LLC
REVENUES:
Club operations                                                 $              (15) $               158    $               36      $               0    $                    8   $                   8   $                220
Fees and other                                                                   -                    -                     -                      -                         -                       -                      -
Total Revenue                                                                  (15)                 158                    36                      0                         8                       8                    220


OPERATING EXPENSES:
Payroll and related                                                             (1)                 64                        2                    0                      (0)                      (2)                     70
Club operating                                                                  (3)                 70                       (1)                  (3)                     20                       23                     214
General and administrative                                                       1                  12                       3                     1                         2                       2                     16
Depreciation and amortization                                                    -                   2                       -                     -                         -                       -                     21
Impairment of fixed assets                                                        -                    -                      -                    -                         -                       -                        -
Impairment of right-of-use assets                                                 -                    -                      -                    -                         -                       -                        -
Impairment of goodwill                                                            -                    -                      -                    -                         -                       -                        -
Impairment of intangible assets                                                   -                    -                      -                    -                         -                       -                        -
Operating Income                                                               (12)                 10                     31                      2                     (13)                     (15)                  (100)

Gain on extinguishment of debt                                                    -                    -                      -                    -                         -                       -                        -
Other (Income) / Expense                                                          -                    -                      -                    -                         -                       -                        -
Interest expense                                                                  -                    -                      -                    -                         -                       -                        0
Interest income                                                                   -                    -                      -                    -                         -                       -                        -
Equity in the earnings of investees and rental income                             -                    -                      -                    -                         -                       -                        -
Income (loss) before provision (benefit) for corporate incom                   (12)                 10                     31                      2                     (13)                     (15)                  (100)
Total taxes                                                                       -                    -                      -                    -                         -                       -                        -


Net income (loss)                                                              (12)                 10                     31                      2                     (13)                     (15)                  (100)
Non-controlling interest                                                          -                    -                      -                    -                         -                       -                        -
Net income (loss) attributable to TSI                           $              (12) $               10     $               31      $               2 $                   (13) $                   (15) $                (100)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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                                                                    20-12244              20-12266               20-12186               20-12254               20-12331              20-12253              20-12204

                                                                                                           TSI Clarendon,                                  TSI Ridgewood,        TSI South Park           TSI Gallery




                                                        Notes
                         Account                                TSI West 16, LLC TSI West 94, LLC               LLC                 TSI West 41, LLC            LLC                Slope, LLC             Place, LLC
REVENUES:
Club operations                                                 $              163    $              339   $                -       $              -       $                0    $              116   $                  0
Fees and other                                                                   -                     -                        -                      -                    -                     -                      -
Total Revenue                                                                  163                   339                        -                      -                    0                   116                      0


OPERATING EXPENSES:
Payroll and related                                                             37                    39                        -                    0                      -                   19                      (0)
Club operating                                                                 101                   164                        -                   24                      8                   58                       5
General and administrative                                                      13                    19                        -                      1                    5                    9                       0
Depreciation and amortization                                                   15                    11                        -                      -                    -                   15                       -
Impairment of fixed assets                                                       -                     -                        -                      -                    -                     -                      -
Impairment of right-of-use assets                                                -                     -                        -                      -                    -                     -                      -
Impairment of goodwill                                                           -                     -                        -                      -                    -                     -                      -
Impairment of intangible assets                                                  -                     -                        -                      -                    -                     -                      -
Operating Income                                                                (3)                  106                        -                  (25)                   (13)                  15                      (6)

Gain on extinguishment of debt                                                   -                     -                        -                      -                    -                     -                      -
Other (Income) / Expense                                                         -                     -                        -                      -                    -                     -                      -
Interest expense                                                                 1                     1                        -                      -                    -                     -                      -
Interest income                                                                  -                     -                        -                      -                    -                     -                      -
Equity in the earnings of investees and rental income                            -                     -                        -                      -                    -                     -                      -
Income (loss) before provision (benefit) for corporate incom                    (4)                  105                        -                  (25)                   (13)                  15                      (6)
Total taxes                                                                      -                     -                        -                      -                    -                     -                      -


Net income (loss)                                                               (4)                  105                        -                  (25)                   (13)                  15                      (6)
Non-controlling interest                                                         -                     -                        -                      -                    -                     -                      -
Net income (loss) attributable to TSI                           $               (4) $                105   $                    - $                (25) $                 (13) $                15    $                 (6)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In 000's of US Dollars
                                                                    20-12231              20-12287               20-12257             20-12320             20-12295               20-12326             20-12316

                                                                TSI Murray Hill,      TSI Downtown                                TSI Westwood,        TSI Jersey City,                              TSI Waltham,




                                                        Notes
                         Account                                     LLC              Crossing, LLC         TSI West 48, LLC           LLC                  LLC               TSI Newark, LLC            LLC
REVENUES:
Club operations                                                 $              142    $              156    $               182   $              18    $              27      $              (0) $                331
Fees and other                                                                   -                     0                      -                   -                    -                      -                     -
Total Revenue                                                                  142                   156                    182                  18                   27                     (0)                  331


OPERATING EXPENSES:
Payroll and related                                                             30                    41                     29                  (1)                  (0)                    (0)                   49
Club operating                                                                 105                   142                    126                   5                    2                     (2)                  132
General and administrative                                                      10                    10                     11                   2                    3                     1                     16
Depreciation and amortization                                                    2                    25                      9                   -                    0                     -                      1
Impairment of fixed assets                                                       -                     -                      -                   -                       -                   -                     -
Impairment of right-of-use assets                                                -                     -                      -                   -                       -                   -                     -
Impairment of goodwill                                                           -                     -                      -                   -                       -                   -                     -
Impairment of intangible assets                                                  -                     -                      -                   -                       -                   -                     -
Operating Income                                                                (5)                  (62)                    6                   12                   23                     1                    133

Gain on extinguishment of debt                                                   -                     -                      -                   -                       -                   -                     -
Other (Income) / Expense                                                         -                     -                      -                   -                       -                   -                     -
Interest expense                                                                 -                     1                      1                   -                       -                   -                     -
Interest income                                                                  -                     -                      -                   -                       -                   -                     -
Equity in the earnings of investees and rental income                            -                     -                      -                   -                       -                   -                     -
Income (loss) before provision (benefit) for corporate incom                    (5)                  (63)                    5                   12                   23                     1                    133
Total taxes                                                                      -                     -                      -                   -                       -                   -                     -


Net income (loss)                                                               (5)                  (63)                    5                   12                   23                     1                    133
Non-controlling interest                                                         -                     -                      -                   -                       -                   -                     -
Net income (loss) attributable to TSI                           $               (5) $                (63) $                  5    $              12    $              23      $              1     $              133


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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STATEMENT OF OPERATIONS
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In 000's of US Dollars
                                                                     20-12211              20-12178               20-12297             20-12293              20-12278             20-12180             20-12207

                                                                     TSI Grand                              TSI Livingston,           TSI Hoboken        TSI White Plains     TSI Bay Ridge,       TSI Georgetown,




                                                        Notes
                         Account                                    Central, LLC       TSI Astoria, LLC          LLC                   North, LLC        City Center, LLC          LLC                  LLC
REVENUES:
Club operations                                                 $               43     $              364   $                 (0) $               160    $              292   $              177   $              -
Fees and other                                                                   -                      4                      -                    -                     -                    -                       -
Total Revenue                                                                   43                    368                     (0)                 160                   292                  177                       -


OPERATING EXPENSES:
Payroll and related                                                             (2)                    23                     (1)                   44                   44                  29                        -
Club operating                                                                  21                     93                      6                    45                  182                  38                        1
General and administrative                                                         4                   22                      5                    14                   16                  23                        -
Depreciation and amortization                                                      -                   33                      -                    14                    5                  12                        -
Impairment of fixed assets                                                         -                    -                      -                     -                    -                    -                       -
Impairment of right-of-use assets                                                  -                    -                      -                     -                    -                    -                       -
Impairment of goodwill                                                             -                    -                      -                     -                    -                    -                       -
Impairment of intangible assets                                                    -                    -                      -                     -                    -                    -                       -
Operating Income                                                                21                    198                    (10)                 44                    45                   76                       (1)

Gain on extinguishment of debt                                                     -                    -                      -                     -                    -                    -                       -
Other (Income) / Expense                                                           -                    -                      -                     -                    -                    -                       -
Interest expense                                                                   -                    1                      -                     -                    3                    1                       -
Interest income                                                                    -                    -                      -                     -                    -                    -                       -
Equity in the earnings of investees and rental income                              -                    -                      -                     -                    -                    -                       -
Income (loss) before provision (benefit) for corporate incom                    21                    197                    (10)                 44                    42                   75                       (1)
Total taxes                                                                        -                    -                      -                     -                    -                    -                       -


Net income (loss)                                                               21                    197                    (10)                 44                    42                   75                       (1)
Non-controlling interest                                                           -                    -                      -                     -                    -                    -                       -
Net income (loss) attributable to TSI                           $               21     $              197   $                (10) $               44     $              42    $              75 $                     (1)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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                                                                    20-12318             20-12213                  20-12308               20-12274               20-12310                20-12252                 20-12214

                                                                TSI Watertown,       TSI Hartsdale,           TSI South End,            TSI Boylston,            TSI South               TSI South            TSI Hawthorne,




                                                        Notes
                         Account                                     LLC                  LLC                      LLC                      LLC                 Station, LLC           Bethesda, LLC               LLC
REVENUES:
Club operations                                                 $              0     $              -         $               132   $                141    $                72    $                -         $              138
Fees and other                                                                 -                         -                      -                      -                      -                          -                     -
Total Revenue                                                                  0                         -                    132                    141                     72                          -                   138


OPERATING EXPENSES:
Payroll and related                                                            (0)                       -                    25                      33                     19                          0                   32
Club operating                                                                 (5)                       0                    58                     182                     45                          3                   38
General and administrative                                                     1                         0                    10                      10                      7                          0                   10
Depreciation and amortization                                                  -                         -                    24                      12                     29                          -                    5
Impairment of fixed assets                                                       -                       -                      -                       -                      -                         -                     -
Impairment of right-of-use assets                                                -                       -                      -                       -                      -                         -                     -
Impairment of goodwill                                                           -                       -                      -                       -                      -                         -                     -
Impairment of intangible assets                                                  -                       -                      -                       -                      -                         -                     -
Operating Income                                                               5                        (0)                   15                     (96)                   (28)                        (4)                  53

Gain on extinguishment of debt                                                   -                       -                      -                       -                      -                         -                    -
Other (Income) / Expense                                                         -                       -                      -                       -                      -                         -                    -
Interest expense                                                                 -                       -                      -                       -                      0                         -                    1
Interest income                                                                  -                       -                      -                       -                      -                         -                    -
Equity in the earnings of investees and rental income                            -                       -                      -                       -                      -                         -                    -
Income (loss) before provision (benefit) for corporate incom                   5                        (0)                   15                     (96)                   (28)                        (4)                  52
Total taxes                                                                      -                       -                      -                       -                      -                         -                     -


Net income (loss)                                                              5                        (0)                   15                     (96)                   (28)                        (4)                  52
Non-controlling interest                                                         -                       -                      -                       -                      -                         -                     -
Net income (loss) attributable to TSI                           $              5 $                      (0) $                 15    $                (96) $                 (28) $                      (4) $                52


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In 000's of US Dollars
                                                                    20-12262             20-12245               20-12236               20-12209              20-12184              20-12327              20-12281

                                                                TSI Varick Street,   TSI Rego Park,                                  TSI Glendale,




                                                        Notes
                         Account                                      LLC                 LLC             TSI Radnor, LLC                LLC             TSI Carmel, LLC TSI Newton, LLC TSI Clifton LLC
REVENUES:
Club operations                                                 $              161   $              214   $                0     $                193    $              107    $                0    $               0
Fees and other                                                                   -                    -                    -                        5                     -                     -                    -
Total Revenue                                                                  161                  214                    0                      198                   107                     0                    0


OPERATING EXPENSES:
Payroll and related                                                            31                   35                      0                      27                   25                      0                   (0)
Club operating                                                                 98                   87                     (9)                     95                   36                     17                    1
General and administrative                                                     11                   24                     0                       13                     9                    (0)                   2
Depreciation and amortization                                                   4                   27                     -                       12                    (1)                    -                    -
Impairment of fixed assets                                                       -                    -                     -                        -                    -                     -                    -
Impairment of right-of-use assets                                                -                    -                     -                        -                    -                     -                    -
Impairment of goodwill                                                           -                    -                     -                        -                    -                     -                    -
Impairment of intangible assets                                                  -                    -                     -                        -                    -                     -                    -
Operating Income                                                               16                   41                     9                      51                    37                    (16)                  (3)

Gain on extinguishment of debt                                                  -                     -                     -                        -                    -                     -                    -
Other (Income) / Expense                                                        -                     -                     -                        -                    -                     -                    -
Interest expense                                                                1                     1                     -                        -                    -                     -                    -
Interest income                                                                 -                     -                     -                        -                    -                     -                    -
Equity in the earnings of investees and rental income                           -                     -                     -                        -                    -                     -                    -
Income (loss) before provision (benefit) for corporate incom                   15                   40                     9                      51                    37                    (16)                  (3)
Total taxes                                                                      -                    -                     -                        -                    -                     -                    -


Net income (loss)                                                              15                   40                     9                      51                    37                    (16)                  (3)
Non-controlling interest                                                         -                    -                     -                        -                    -                     -                    -
Net income (loss) attributable to TSI                           $              15    $              40    $                9     $                51     $              37     $              (16) $                (3)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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                                                                    20-12269             20-12273               20-12230            20-12284             20-12250             20-12181             20-12194

                                                                TSI West 115th,       TSI West 145th       TSI Morris Park, TSI Davis Square,        TSI Smithtown,        TSI Bayridge        TSI Dobbs Ferry,




                                                        Notes
                         Account                                     LLC               Street, LLC              LLC               LLC                     LLC             86th Street LLC            LLC
REVENUES:
Club operations                                                 $              (0) $                223    $               13   $              161   $              123   $              25    $              277
Fees and other                                                                  -                     -                     -                    -                    4                   -                     -
Total Revenue                                                                  (0)                  223                    13                  161                  127                  25                   277


OPERATING EXPENSES:
Payroll and related                                                             0                   34                      0                  34                    32                  (1)                   34
Club operating                                                                  3                   83                      1                  65                    64                   9                   116
General and administrative                                                      1                   14                      2                  11                    10                   3                    16
Depreciation and amortization                                                   -                   19                      -                  21                     1                   -                    38
Impairment of fixed assets                                                        -                    -                    -                    -                    -                   -                     -
Impairment of right-of-use assets                                                 -                    -                    -                    -                    -                   -                     -
Impairment of goodwill                                                            -                    -                    -                    -                    -                   -                     -
Impairment of intangible assets                                                   -                    -                    -                    -                    -                   -                     -
Operating Income                                                               (4)                  73                     10                  30                   20                   14                   72

Gain on extinguishment of debt                                                    -                    -                    -                    -                    -                   -                     -
Other (Income) / Expense                                                          -                    -                    -                    -                    -                   -                     -
Interest expense                                                                  -                    -                    -                    -                    -                   -                     -
Interest income                                                                   -                    -                    -                    -                    -                   -                     -
Equity in the earnings of investees and rental income                             -                    -                    -                    -                    -                   -                     -
Income (loss) before provision (benefit) for corporate incom                   (4)                  73                     10                  30                   20                   14                   72
Total taxes                                                                       -                    -                    -                    -                    -                   -                     -


Net income (loss)                                                              (4)                  73                     10                  30                   20                   14                   72
Non-controlling interest                                                          -                    -                    -                    -                    -                   -                     -
Net income (loss) attributable to TSI                           $              (4) $                73     $               10   $              30    $              20    $              14    $              72


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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                                                                    20-12277               20-12188                20-12315                20-12215               20-12259              20-12319                20-12276
                                                                                                                                                                                           TSI
                                                                                         TSI Columbia       TSI Wellington              TSI Hicksville,       TSI Sunnyside,           Westborough,             TSI West




                                                        Notes
                         Account                                TSI Butler, LLC          Heights, LLC        Circle, LLC                     LLC                   LLC                     LLC                Hartford, LLC
REVENUES:
Club operations                                                 $              23    $                 62   $                 22    $                 159     $              145   $              92      $                  8
Fees and other                                                                  -                       -                      -                        2                      -                   -                         3
Total Revenue                                                                  23                      62                     22                      161                    145                  92                        11


OPERATING EXPENSES:
Payroll and related                                                            (0)                     61                     (3)                      26                    19                   29                         0
Club operating                                                                 20                     116                      3                       83                    50                   16                        77
General and administrative                                                      3                       8                      3                       11                     1                    8                        10
Depreciation and amortization                                                   -                      27                      -                        2                    16                   15                         -
Impairment of fixed assets                                                      -                       -                      -                          -                    -                      -                       -
Impairment of right-of-use assets                                               -                       -                      -                          -                    -                      -                    (875)
Impairment of goodwill                                                          -                       -                      -                          -                    -                      -                       -
Impairment of intangible assets                                                 -                       -                      -                          -                    -                      -                       -
Operating Income                                                               (0)                (151)                       18                      39                     59                   25                       798

Gain on extinguishment of debt                                                  -                       -                      -                          -                    -                      -                       -
Other (Income) / Expense                                                        -                       -                      -                          -                    -                      -                       -
Interest expense                                                                0                       1                      -                          -                    -                      0                       -
Interest income                                                                 -                       -                      -                          -                    -                      -                       -
Equity in the earnings of investees and rental income                           -                       -                      -                          -                    -                      -                       -
Income (loss) before provision (benefit) for corporate incom                   (1)                (152)                       18                      39                     59                   24                       798
Total taxes                                                                     -                       -                      -                          -                    -                      -                       -


Net income (loss)                                                              (1)                (152)                       18                      39                     59                   24                       798
Non-controlling interest                                                        -                       -                      -                          -                    -                      -                       -
Net income (loss) attributable to TSI                           $              (1) $              (152) $                     18    $                 39      $              59    $              24      $                798


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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                                                                    20-12206              20-12193              20-12235               20-12271             20-12212                 20-12268               20-12272

                                                                TSI Garnerville,       TSI Deer Park,       TSI Providence           TSI Bayonne,        TSI Greenpoint,           TSI Back Bay,           TSI Beacon




                                                        Notes
                         Account                                     LLC                    LLC              Eastside, LLC               LLC                  LLC                       LLC                Street, LLC
REVENUES:
Club operations                                                 $               (5) $                   0   $                6   $                  (2) $              27      $                167    $               -
Fees and other                                                                   -                      -                    -                       -                  -                        10                         -
Total Revenue                                                                   (5)                     0                    6                      (2)                27                       177                         -


OPERATING EXPENSES:
Payroll and related                                                              2                   (0)                     -                     (0)                 (1)                       39                         -
Club operating                                                                  55                    8                      1                     38                   9                       187                         -
General and administrative                                                       4                      1                  (0)                      3                   3                        14                         0
Depreciation and amortization                                                    1                      -                   -                       -                   -                        18                         -
Impairment of fixed assets                                                         -                    -                    -                       -                     -                       -                        -
Impairment of right-of-use assets                                                  -                    -                    -                       -                     -                       -                        -
Impairment of goodwill                                                             -                    -                    -                       -                     -                       -                        -
Impairment of intangible assets                                                    -                    -                    -                       -                     -                       -                        -
Operating Income                                                               (67)                  (8)                   5                      (43)                 17                       (81)                       (0)

Gain on extinguishment of debt                                                     -                    -                    -                       -                     -                       -                        -
Other (Income) / Expense                                                           -                    -                    -                       -                     -                       -                        -
Interest expense                                                                   -                    -                    -                       -                     -                       0                        0
Interest income                                                                    -                    -                    -                       -                     -                       -                        -
Equity in the earnings of investees and rental income                              -                    -                    -                       -                     -                       -                        -
Income (loss) before provision (benefit) for corporate incom                   (67)                  (8)                   5                      (43)                 17                       (81)                       (0)
Total taxes                                                                        -                    -                    -                       -                     -                       -                        -


Net income (loss)                                                              (67)                  (8)                   5                      (43)                 17                       (81)                       (0)
Non-controlling interest                                                           -                    -                    -                       -                     -                       -                        -
Net income (loss) attributable to TSI                           $              (67) $                (8) $                 5 $                    (43) $               17      $                (81) $                     (0)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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STATEMENT OF OPERATIONS
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In 000's of US Dollars
                                                                      20-12179              20-12285                20-12311                20-12174                20-12176                  20-12175               20-12177

                                                                    TSI Avenue A,       TSI Dorchester,           TSI Wayland,            TSI 30 Broad            TSI 1231 3rd               TSI 555 6th         TSI Astor Place,




                                                        Notes
                         Account                                         LLC                 LLC                      LLC                  Street, LLC            Avenue, LLC                Avenue, LLC              LLC
REVENUES:
Club operations                                                 $                12     $              75     $                 49    $                303    $                -         $               -       $              (132)
Fees and other                                                                    -                     -                        -                       -                          -                        -                     -
Total Revenue                                                                    12                    75                       49                     303                          -                        -                  (132)


OPERATING EXPENSES:
Payroll and related                                                               0                    22                       13                      45                          -                      -                      (2)
Club operating                                                                   16                    37                       39                     115                         (7)                    19                      (4)
General and administrative                                                          3                   7                        6                       17                        0                         -                     5
Depreciation and amortization                                                       -                  14                        8                       36                        -                         -                     -
Impairment of fixed assets                                                          -                     -                      -                        -                         -                        -                      -
Impairment of right-of-use assets                                                   -                     -                      -                        -                         -                        -                      -
Impairment of goodwill                                                              -                     -                      -                        -                         -                        -                      -
Impairment of intangible assets                                                     -                     -                      -                        -                         -                        -                      -
Operating Income                                                                 (7)                   (6)                     (18)                    90                          7                     (19)                (131)

Gain on extinguishment of debt                                                      -                   -                        -                        -                         -                        -                      -
Other (Income) / Expense                                                            -                   -                        -                        -                         -                        -                      -
Interest expense                                                                    -                   0                        -                        1                         -                        -                      -
Interest income                                                                     -                   -                        -                        -                         -                        -                      -
Equity in the earnings of investees and rental income                               -                   -                        -                        -                         -                        -                      -
Income (loss) before provision (benefit) for corporate incom                     (7)                   (6)                     (18)                    89                          7                     (19)                (131)
Total taxes                                                                         -                     -                      -                        -                         -                        -                      -


Net income (loss)                                                                (7)                   (6)                     (18)                    89                          7                     (19)                (131)
Non-controlling interest                                                            -                     -                      -                        -                         -                        -                      -
Net income (loss) attributable to TSI                           $                (7) $                 (6) $                   (18) $                  89     $                    7 $                   (19) $              (131)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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STATEMENT OF OPERATIONS
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In 000's of US Dollars
                                                                    20-12229              20-12317                20-12260                 20-12304            20-12298            20-12303            20-12302

                                                                TSI Massapequa,         TSI Westboro        TSI Total Woman TSI - Studio City, TSI - Northridge,                                    TSI - San Jose,




                                                        Notes
                         Account                                     LLC                 Tennis, LLC          Holdco, LLC          LLC                LLC        TSI - Irvine, LLC                       LLC
REVENUES:
Club operations                                                 $              (38) $                  0    $                -         $               (7) $               (8) $              (3) $                (7)
Fees and other                                                                   -                     -                          -                     -                   -                  -                    -
Total Revenue                                                                  (38)                    0                          -                    (7)                 (8)                (3)                  (7)


OPERATING EXPENSES:
Payroll and related                                                             (2)                   (1)                         7                     -                   -                  -                    -
Club operating                                                                  31                   (20)                        (0)                    1                   4                 (3)                  14
General and administrative                                                       7                     2                         2                      2                   3                  2                      2
Depreciation and amortization                                                    -                     7                         9                      -                   -                  -                      -
Impairment of fixed assets                                                       -                     -                          -                     -                   -                  -                      -
Impairment of right-of-use assets                                                -                     -                          -                     -                   -                  -                      -
Impairment of goodwill                                                           -                     -                          -                     -                   -                  -                      -
Impairment of intangible assets                                                  -                     -                          -                     -                   -                  -                      -
Operating Income                                                               (74)                  13                      (17)                     (10)                (15)                (2)                 (23)

Gain on extinguishment of debt                                                   -                     -                          -                     -                   -                  -                      -
Other (Income) / Expense                                                         -                     -                          -                     -                   -                  -                      -
Interest expense                                                                 -                     -                          -                     -                   -                  -                      -
Interest income                                                                  -                     -                          -                     -                   -                  -                      -
Equity in the earnings of investees and rental income                            -                     -                          -                     -                   -                  -                      -
Income (loss) before provision (benefit) for corporate incom                   (74)                  13                      (17)                     (10)                (15)                (2)                 (23)
Total taxes                                                                      -                     -                          -                     -                   -                  -                      -


Net income (loss)                                                              (74)                  13                      (17)                     (10)                (15)                (2)                 (23)
Non-controlling interest                                                         -                     -                          -                     -                   -                  -                      -
Net income (loss) attributable to TSI                           $              (74) $                13 $                    (17) $                   (10) $              (15) $              (2) $               (23)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                      20-12299                 20-12300               20-12309            20-12306              20-12305              20-12307              20-12301

                                                                    TSI Placentia,         TSI - Alameda,        TSI - Westlake,       TSI - Valencia,       TSI - Torrance,       TSI - Topanga,           TSI - Cal.




                                                        Notes
                         Account                                        LLC                      LLC                   LLC                   LLC                   LLC                   LLC              Glendale, LLC
REVENUES:
Club operations                                                 $                -         $               (5) $                 (3) $               (4) $                  (7) $                 (7) $                (11)
Fees and other                                                                        -                     -                     -                   -                      -                     -                     -
Total Revenue                                                                         -                    (5)                   (3)                 (4)                    (7)                   (7)                  (11)


OPERATING EXPENSES:
Payroll and related                                                                   -                     -                     -                   -                        -                   -                     -
Club operating                                                                        4                     9                    (2)                 (7)                       1                 (16)                   (0)
General and administrative                                                            0                     2                      2                     2                     1                    2                     2
Depreciation and amortization                                                         -                     -                      -                     -                     -                    -                     -
Impairment of fixed assets                                                            -                     -                      -                     -                     -                    -                     -
Impairment of right-of-use assets                                                     -                     -                      -                     -                     -                    -                     -
Impairment of goodwill                                                                -                     -                      -                     -                     -                    -                     -
Impairment of intangible assets                                                       -                     -                      -                     -                     -                    -                     -
Operating Income                                                                     (4)                  (16)                   (2)                     2                 (10)                     6                  (13)

Gain on extinguishment of debt                                                        -                     -                      -                     -                     -                    -                     -
Other (Income) / Expense                                                              -                     -                      -                     -                     -                    -                     -
Interest expense                                                                      -                     -                      -                     -                     -                    -                     -
Interest income                                                                       -                     -                      -                     -                     -                    -                     -
Equity in the earnings of investees and rental income                                 -                     -                      -                     -                     -                    -                     -
Income (loss) before provision (benefit) for corporate incom                         (4)                  (16)                   (2)                     2                 (10)                     6                  (13)
Total taxes                                                                           -                     -                      -                     -                     -                    -                     -


Net income (loss)                                                                    (4)                  (16)                   (2)                     2                 (10)                     6                  (13)
Non-controlling interest                                                              -                     -                      -                     -                     -                    -                     -
Net income (loss) attributable to TSI                           $                    (4) $                (16) $                 (2) $                   2 $               (10) $                   6 $                (13)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                    20-12328               20-12332                  20-12325             20-12234               20-12169            20-12242               20-12240

                                                                                         TSI Salisbury,           TSI Methuen,        TSI Pine Street,       TSI-ATC Holdco,     TSI-ATC Cape               TSI-ATC




                                                        Notes
                         Account                                TSI Peabody, LLC              LLC                     LLC                  LLC                    LLC             Coral, LLC              Boyscout, LLC
REVENUES:
Club operations                                                 $               37   $                 32     $                  (3) $                2      $               0   $              155   $                156
Fees and other                                                                   -                      -                         0                   -                      -                    -                      -
Total Revenue                                                                   37                     32                        (3)                  2                      0                  155                    156


OPERATING EXPENSES:
Payroll and related                                                              2                      2                         2                   0                     31                  54                      62
Club operating                                                                 112                    184                       119                   2                     24                  76                      74
General and administrative                                                       6                      5                         5                   1                      0                   9                      10
Depreciation and amortization                                                   14                     13                        13                   -                     47                  15                      25
Impairment of fixed assets                                                     -                        -                       -                        -                   -                    -                       -
Impairment of right-of-use assets                                         (7,727)                 (17,053)                 (6,484)                       -                   -                    -                       -
Impairment of goodwill                                                           -                        -                       -                      -                   -                    -                       -
Impairment of intangible assets                                                  -                        -                       -                      -                   -                    -                       -
Operating Income                                                          7,629                   16,882                   6,342                     (1)                (101)                    1                     (16)

Gain on extinguishment of debt                                                   -                        -                       -                      -                   -                    -                       -
Other (Income) / Expense                                                         -                        -                       -                      -                   -                    -                       -
Interest expense                                                                 -                        -                       -                      -                   -                    -                       -
Interest income                                                                  -                        -                       -                      -                   -                    -                       -
Equity in the earnings of investees and rental income                            -                        -                       -                      -                   -                    -                       -
Income (loss) before provision (benefit) for corporate incom              7,629                   16,882                   6,342                     (1)                (101)                    1                     (16)
Total taxes                                                                      -                        -                       -                      -                   -                    -                       -


Net income (loss)                                                         7,629                   16,882                   6,342                     (1)                (101)                    1                     (16)
Non-controlling interest                                                         -                        -                       -                      -                   -                    -                       -
Net income (loss) attributable to TSI                           $         7,629      $            16,882      $            6,342      $              (1) $              (101) $                  1 $                   (16)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In 000's of US Dollars
                                                                    20-12237             20-12239               20-12238           20-12243                 20-12291                 20-12286                 20-12289
                                                                                                                                   TSI-ATC
                                                                TSI-ATC Alico        TSI-ATC Beneva           TSI-ATC Ben        Tamiami Trail,           TSI-HR 76th              TSI-HR 13th              TSI-HR 45th




                                                        Notes
                         Account                                 Mission, LLC           Road, LLC              Pratt, LLC            LLC                   Street, LLC              Street, LLC              Street, LLC
REVENUES:
Club operations                                                 $              17    $              24    $                201   $            13      $                -       $                -       $                -
Fees and other                                                                  -                    -                       -                 -                           -                        -                        -
Total Revenue                                                                  17                   24                     201                13                           -                        -                        -


OPERATING EXPENSES:
Payroll and related                                                            (2)                  (1)                    65                 (2)                          -                        -                        -
Club operating                                                                  9                    8                     73                  3                           -                        -                        -
General and administrative                                                      2                    4                     12                     2                        -                        -                        -
Depreciation and amortization                                                   -                    -                     26                     -                        -                        -                        -
Impairment of fixed assets                                                      -                    -                       -                    -                        -                        -                        -
Impairment of right-of-use assets                                               -                    -                       -                    -                        -                        -                        -
Impairment of goodwill                                                          -                    -                       -                    -                        -                        -                        -
Impairment of intangible assets                                                 -                    -                       -                    -                        -                        -                        -
Operating Income                                                                7                   13                     24                10                            -                        -                        -

Gain on extinguishment of debt                                                  -                    -                       -                    -                        -                        -                        -
Other (Income) / Expense                                                        -                    -                       -                    -                        -                        -                        -
Interest expense                                                                -                    -                       -                    -                        -                        -                        -
Interest income                                                                 -                    -                       -                    -                        -                        -                        -
Equity in the earnings of investees and rental income                           -                    -                       -                    -                        -                        -                        -
Income (loss) before provision (benefit) for corporate incom                    7                   13                     24                10                            -                        -                        -
Total taxes                                                                     -                    -                       -                    -                        -                        -                        -


Net income (loss)                                                               7                   13                     24                10                            -                        -                        -
Non-controlling interest                                                        -                    -                       -                    -                        -                        -                        -
Net income (loss) attributable to TSI                           $               7    $              13    $                24    $           10       $                    - $                      - $                      -


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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STATEMENT OF OPERATIONS
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In 000's of US Dollars
                                                                   20-12292           20-12170               20-12171                 20-12265             20-12172             20-12173                 20-12168
                                                                   TSI-HR                                  TSI - Lucille                                 TSI - Lucille        TSI - Lucille            Town Sports
                                                                Whitehall Street, TSI - Lucille 38th       Austin Street,           TSI - Lucille       Kings Highway,       Valley Stream,           International,




                                                        Notes
                         Account                                     LLC            Avenue, LLC                LLC                  Clifton, LLC             LLC                  LLC                      LLC
REVENUES:
Club operations                                                 $             -       $           27   $               138      $                71     $           33       $            97      $               (846)
Fees and other                                                                    -                -                     -                        -                  -                     -                       123
Total Revenue                                                                     -               27                   138                       71                 33                    97                      (723)


OPERATING EXPENSES:
Payroll and related                                                               -                1                    23                       18                  8                    15                      768
Club operating                                                                    -                2                    68                       18                 47                    28                       49
General and administrative                                                        -                2                        9                       7                5                        8                  3,637
Depreciation and amortization                                                     -                -                        1                       1                0                        0                     27
Impairment of fixed assets                                                        -                -                        -                       -                    -                    -                        -
Impairment of right-of-use assets                                                 -                -                        -                       -                    -                    -                        -
Impairment of goodwill                                                            -                -                        -                       -                    -                    -                        -
Impairment of intangible assets                                                   -                -                        -                       -                    -                    -                        -
Operating Income                                                                  -              21                     37                       27                (27)                   46                   (5,203)

Gain on extinguishment of debt                                                    -                -                        -                       -                    -                    -                     -
Other (Income) / Expense                                                          -                -                        -                       -                    -                    -                     -
Interest expense                                                                  -                -                        -                       -                    -                    -                   284
Interest income                                                                   -                -                        -                       -                    -                    -                    (0)
Equity in the earnings of investees and rental income                             -                -                        -                       -                    -                    -                     -
Income (loss) before provision (benefit) for corporate incom                      -              21                     37                       27                (27)                   46                   (5,487)
Total taxes                                                                       -                -                        -                       -                    -                    -                        -


Net income (loss)                                                                 -              21                     37                       27                (27)                   46                   (5,487)
Non-controlling interest                                                          -                -                        -                       -                    -                    -                        -
Net income (loss) attributable to TSI                           $                 -   $          21    $                37      $                27     $          (27) $                 46      $            (5,487)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In 000's of US Dollars                                                                                                                                                                                       162 end
                                                                      20-12218                20-12220                20-12222                20-12223             20-12208               20-12258                 20-12288

                                                                    TSI Holdings            TSI Holdings            TSI Holdings            TSI Holdings                                                         TSI Elite Back




                                                        Notes
                         Account                                     (DC), LLC               (MA), LLC               (NJ), LLC               (PA), LLC          TSI Giftco, LLC       TSI Stoked, LLC              Bay, LLC
REVENUES:
Club operations                                                 $                  1    $                   0   $                  0    $                  (0) $              -       $              -       $                -
Fees and other                                                                     -                        -                      -                        -                     -                      -                        -
Total Revenue                                                                      1                        0                      0                       (0)                    -                      -                        -


OPERATING EXPENSES:
Payroll and related                                                                23                    103                       26                      19                     -                      -                        -
Club operating                                                                      -                      4                        -                       1                     -                      -                        -
General and administrative                                                         0                        1                      1                        5                     -                      -                        -
Depreciation and amortization                                                      0                       74                      0                        -                     -                      -                        -
Impairment of fixed assets                                                          -                       -                       -                       -                     -                      -                        -
Impairment of right-of-use assets                                                   -                       -                       -                       -                     -                      -                        -
Impairment of goodwill                                                              -                       -                       -                       -                     -                      -                        -
Impairment of intangible assets                                                     -                       -                       -                       -                     -                      -                        -
Operating Income                                                                 (23)                 (182)                      (26)                    (26)                     -                      -                        -

Gain on extinguishment of debt                                                      -                       -                       -                       -                     -                      -                        -
Other (Income) / Expense                                                            -                       -                       -                       -                     -                      -                        -
Interest expense                                                                    -                       -                       -                       -                     -                      -                        -
Interest income                                                                     -                       -                       -                       -                     -                      -                        -
Equity in the earnings of investees and rental income                               -                       -                       -                       -                     -                      -                        -
Income (loss) before provision (benefit) for corporate incom                     (23)                 (182)                      (26)                    (26)                     -                      -                        -
Total taxes                                                                         -                       -                       -                       -                     -                      -                        -


Net income (loss)                                                                (23)                 (182)                      (26)                    (26)                     -                      -                        -
Non-controlling interest                                                            -                       -                       -                       -                     -                      -                        -
Net income (loss) attributable to TSI                           $                (23) $               (182) $                    (26) $                  (26) $                   - $                    - $                      -


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In 000's of US Dollars                                          42 begin
                                                                    20-12646             20-12661              20-12642             20-12640               20-12671             20-12637             20-12668

                                                                TSI Great Neck, TSI Mamaroneck,                                                          TSI Stamford            TSI 217         TSI Rodin Place,




                                                        Notes
                         Account                                     LLC             LLC        TSI East 59, LLC TSI East 41, LLC                         Post, LLC           Broadway, LLC           LLC
REVENUES:
Club operations                                                 $              10    $               4    $               18    $               14   $                (58) $               26    $               (7)
Fees and other                                                                  -                    -                     -                     -                      -                   -                     -
Total Revenue                                                                  10                    4                    18                    14                    (58)                 26                    (7)


OPERATING EXPENSES:
Payroll and related                                                            (0)                  (0)                   (0)                    4                      (2)                (0)                   (3)
Club operating                                                                 (1)                   6                    (1)                  128                       7                 (7)                   13
General and administrative                                                     2                     2                     3                     5                      (1)                 3                     2
Depreciation and amortization                                                  -                     -                     -                     0                       -                  -                     -
Impairment of fixed assets                                                      -                    -                     -                   -                         -                  -                     -
Impairment of right-of-use assets                                               -                    -                     -              (7,485)                        -                  -                     -
Impairment of goodwill                                                          -                    -                     -                     -                       -                  -                     -
Impairment of intangible assets                                                 -                    -                     -                     -                       -                  -                     -
Operating Income                                                               9                    (3)                   16              7,362                       (62)                 30                   (19)

Gain on extinguishment of debt                                                  -                    -                     -                     -                       -                  -                     -
Other (Income) / Expense                                                        -                    -                     -                     -                       -                  -                     -
Interest expense                                                                -                    -                     1                     1                       -                  -                     -
Interest income                                                                 -                    -                     -                     -                       -                  -                     -
Equity in the earnings of investees and rental income                           -                    -                     -                     -                       -                  -                     -
Income (loss) before provision (benefit) for corporate incom                   9                    (3)                   15              7,361                       (62)                 30                   (19)
Total taxes                                                                    -                     -                     -                     -                       -                  -                     -


Net income (loss)                                                              9                    (3)                   15              7,361                       (62)                 30                   (19)
Non-controlling interest                                                        -                    -                     -                     -                       -                  -                     -
Net income (loss) attributable to TSI                           $              9 $                  (3) $                 15    $         7,361      $                (62) $               30 $                 (19)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In 000's of US Dollars
                                                                    20-12673               20-12644              20-12647             20-12662               20-12648              20-12665              20-12667

                                                                                          TSI East          TSI Greenwich,           TSI Market          TSI Huntington,       TSI Montclair,          TSI Newbury




                                                        Notes
                         Account                                TSI Syosset, LLC         Meadow, LLC             LLC                 Street, LLC              LLC                  LLC                  Street, LLC
REVENUES:
Club operations                                                 $              1     $                 7    $               (19) $                 51    $               9     $              (26) $                   1
Fees and other                                                                 -                       -                      -                     -                    -                      -                      -
Total Revenue                                                                  1                       7                    (19)                   51                    9                    (26)                     1


OPERATING EXPENSES:
Payroll and related                                                            (0)                    (0)                    (4)                   27                   (0)                    (5)                    (1)
Club operating                                                                 (4)                    (0)                     4                    58                   (6)                    (3)                     7
General and administrative                                                     1                       2                      2                     6                    3                      1                      2
Depreciation and amortization                                                  -                       -                      -                    (0)                   -                      -                      -
Impairment of fixed assets                                                      -                      -                      -                     -                      -                    -                      -
Impairment of right-of-use assets                                               -                      -                      -                     -                      -                    -                      -
Impairment of goodwill                                                          -                      -                      -                     -                      -                    -                      -
Impairment of intangible assets                                                 -                      -                      -                     -                      -                    -                      -
Operating Income                                                               5                       5                    (20)                 (40)                   12                    (19)                    (7)

Gain on extinguishment of debt                                                 -                       -                      -                     -                    -                      -                      -
Other (Income) / Expense                                                       -                       -                      -                     -                    -                      -                      -
Interest expense                                                               0                       -                      -                     -                    1                      -                      -
Interest income                                                                -                       -                      -                     -                    -                      -                      -
Equity in the earnings of investees and rental income                          -                       -                      -                     -                    -                      -                      -
Income (loss) before provision (benefit) for corporate incom                   5                       5                    (20)                 (40)                   11                    (19)                    (7)
Total taxes                                                                     -                      -                      -                     -                      -                    -                      -


Net income (loss)                                                              5                       5                    (20)                 (40)                   11                    (19)                    (7)
Non-controlling interest                                                        -                      -                      -                     -                      -                    -                      -
Net income (loss) attributable to TSI                           $              5     $                 5 $                  (20) $               (40) $                 11     $              (19) $                  (7)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                       FORM MOR-2
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                    20-12649             20-12678              20-12675           20-12676            20-12669            20-12670              20-12663

                                                                TSI Irving Place,    TSI Woodmere,        TSI West Newton, TSI West Nyack, TSI Silver Spring,                                  TSI Mercer




                                                        Notes
                         Account                                      LLC                 LLC                  LLC              LLC               LLC         TSI Somers, LLC                  Street, LLC
REVENUES:
Club operations                                                 $              18    $              12    $               (1) $               (8) $              (28) $              10    $                 29
Fees and other                                                                  -                    -                     -                   -                   -                  -                       -
Total Revenue                                                                  18                   12                    (1)                 (8)                (28)                10                      29


OPERATING EXPENSES:
Payroll and related                                                            (0)                  (0)                   (0)                 (0)                 (7)                (3)                     (0)
Club operating                                                                  5                   (3)                    2                 (14)                  3                 58                      12
General and administrative                                                      3                   (0)                    2                   2                   1                  4                       3
Depreciation and amortization                                                   0                    -                     -                   -                   -                 (0)                      -
Impairment of fixed assets                                                      -                    -                     -                   -                   -                 -                        -
Impairment of right-of-use assets                                               -                    -                     -                   -                   -            (1,658)                       -
Impairment of goodwill                                                          -                    -                     -                   -                   -                  -                       -
Impairment of intangible assets                                                 -                    -                     -                   -                   -                  -                       -
Operating Income                                                                9                   16                    (5)                 4                  (26)           1,609                        13

Gain on extinguishment of debt                                                  -                    -                     -                   -                   -                  -                       -
Other (Income) / Expense                                                        -                    -                     -                   -                   -                  -                       -
Interest expense                                                                -                    -                     0                   -                   0                  0                       -
Interest income                                                                 -                    -                     -                   -                   -                  -                       -
Equity in the earnings of investees and rental income                           -                    -                     -                   -                   -                  -                       -
Income (loss) before provision (benefit) for corporate incom                    9                   16                    (5)                 4                  (26)           1,608                        13
Total taxes                                                                     -                    -                     -                   -                   -                  -                       -


Net income (loss)                                                               9                   16                    (5)                 4                  (26)           1,608                        13
Non-controlling interest                                                        -                    -                     -                   -                   -                  -                       -
Net income (loss) attributable to TSI                           $               9    $              16    $               (5) $               4 $                (26) $         1,608      $                 13


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                    20-12645             20-12641                20-12664               20-12666             20-12643            20-12677                20-12674

                                                                TSI Englewood,                                 TSI Midwood,             TSI New              TSI East                                  TSI West End,




                                                        Notes
                         Account                                     LLC              TSI East 48, LLC             LLC                Rochelle, LLC       Brunswick, LLC TSI Woburn, LLC                   LLC
REVENUES:
Club operations                                                 $              (29) $                 6    $                10    $                (2) $                (29) $               94    $                   7
Fees and other                                                                   -                    -                      -                      -                     -                   -                        -
Total Revenue                                                                  (29)                   6                     10                     (2)                  (29)                 94                        7


OPERATING EXPENSES:
Payroll and related                                                             (4)                  (0)                    (0)                    (0)                   (4)                 26                     (0)
Club operating                                                                   2                   25                     (2)                    (1)                    4                 122                     (4)
General and administrative                                                       1                    2                       3                       2                   2                   9                        2
Depreciation and amortization                                                    -                    -                       -                       -                   -                   0                        -
Impairment of fixed assets                                                       -                    -                       -                       -                   -                   -                        -
Impairment of right-of-use assets                                                -                    -                       -                       -                   -                   -                        -
Impairment of goodwill                                                           -                    -                       -                       -                   -                   -                        -
Impairment of intangible assets                                                  -                    -                       -                       -                   -                   -                        -
Operating Income                                                               (28)                 (21)                    10                     (3)                  (30)                (63)                       9

Gain on extinguishment of debt                                                   -                    -                       -                       -                   -                   -                        -
Other (Income) / Expense                                                         -                    -                       -                       -                   -                   -                        -
Interest expense                                                                 -                    -                       -                       0                   -                   -                        0
Interest income                                                                  -                    -                       -                       -                   -                   -                        -
Equity in the earnings of investees and rental income                            -                    -                       -                       -                   -                   -                        -
Income (loss) before provision (benefit) for corporate incom                   (28)                 (21)                    10                     (3)                  (30)                (63)                       9
Total taxes                                                                      -                    -                       -                       -                   -                   -                        -


Net income (loss)                                                              (28)                 (21)                    10                     (3)                  (30)                (63)                       9
Non-controlling interest                                                         -                    -                       -                       -                   -                   -                        -
Net income (loss) attributable to TSI                           $              (28) $               (21) $                  10 $                   (3) $                (30) $              (63) $                     9


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                      20-12672               20-12639               20-12638              20-12657           20-12658          20-12660            20-12651
                                                                                                                                                                            TSI Lucille St.
                                                                    TSI Summer                                    TSI Bradford,       TSI Lucille Jersey TSI Lucille Ralph Nicholas Avenue,    TSI Lucille 89th




                                                        Notes
                         Account                                     Street, LLC         TSI Canton, LLC              LLC                 City, LLC        Avenue, LLC           LLC             Street, LLC
REVENUES:
Club operations                                                 $                   3    $              2     $                 (4) $                (4) $               5    $          (2) $                2
Fees and other                                                                      -                   -                        -                    -                  -                -                   -
Total Revenue                                                                       3                   2                       (4)                  (4)                 5               (2)                  2


OPERATING EXPENSES:
Payroll and related                                                                (0)                  (1)                     (1)                  (0)                (0)              (0)                  (0)
Club operating                                                                      7                   (4)                      6                    2                  6              (34)                  (1)
General and administrative                                                          2                   2                         1                   1                  2                1                   2
Depreciation and amortization                                                       -                   -                         0                   -                  -                -                   -
Impairment of fixed assets                                                          -                    -                        -                   -                  -                -                       -
Impairment of right-of-use assets                                                   -                    -                        -                   -                  -                -                       -
Impairment of goodwill                                                              -                    -                        -                   -                  -                -                       -
Impairment of intangible assets                                                     -                    -                        -                   -                  -                -                       -
Operating Income                                                                   (6)                  5                      (11)                  (7)                (3)              31                   2

Gain on extinguishment of debt                                                      -                    -                        -                   -                  -                -                       -
Other (Income) / Expense                                                            -                    -                        -                   -                  -                -                       -
Interest expense                                                                    -                    -                        -                   -                  -                -                       -
Interest income                                                                     -                    -                        -                   -                  -                -                       -
Equity in the earnings of investees and rental income                               -                    -                        -                   -                  -                -                       -
Income (loss) before provision (benefit) for corporate incom                       (6)                  5                      (11)                  (7)                (3)              31                   2
Total taxes                                                                         -                    -                        -                   -                  -                -                       -


Net income (loss)                                                                  (6)                  5                      (11)                  (7)                (3)              31                   2
Non-controlling interest                                                            -                    -                        -                   -                  -                -                       -
Net income (loss) attributable to TSI                           $                  (6) $                5 $                    (11) $                (7) $              (3) $            31    $              2


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                               FORM MOR-2
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In re: Town Sports International, LLC et al.
                    Debtors

STATEMENT OF OPERATIONS
For the Period of 11/1/2020 through 11/30/2020
In 000's of US Dollars
                                                                     20-12652                20-12653               20-12654               20-12655             20-12656            20-12659              20-12650
                                                                                                                                                                                   TSI Lucille
                                                                    TSI Lucille             TSI Lucille            TSI Lucille          TSI Lucille          TSI Lucille         Rockville Centre,    TSI Lucille 42nd




                                                        Notes
                         Account                                    Astoria, LLC           Bayshore, LLC           Bronx, LLC          Commack, LLC         Holbrook, LLC             LLC               Street, LLC
REVENUES:
Club operations                                                 $                  1   $                 0     $                  2    $              5     $              (2) $                 6    $                8
Fees and other                                                                     -                     -                        -                   -                     -                    -                     -
Total Revenue                                                                      1                     0                        2                   5                    (2)                   6                     8


OPERATING EXPENSES:
Payroll and related                                                              (0)                    (0)                      (0)                  (0)                  (0)                  (0)                   (0)
Club operating                                                                  (11)                     2                        0                   (1)                   0                    2                    20
General and administrative                                                         1                     1                        2                   2                     1                    2                     2
Depreciation and amortization                                                      -                     -                        -                   -                     -                    -                     -
Impairment of fixed assets                                                         -                       -                      -                    -                    -                    -                     -
Impairment of right-of-use assets                                                  -                       -                      -                    -                    -                    -                     -
Impairment of goodwill                                                             -                       -                      -                    -                    -                    -                     -
Impairment of intangible assets                                                    -                       -                      -                    -                    -                    -                     -
Operating Income                                                                11                      (3)                      (0)                  5                    (3)                   3                   (14)

Gain on extinguishment of debt                                                     -                       -                      -                    -                    -                    -                     -
Other (Income) / Expense                                                           -                       -                      -                    -                    -                    -                     -
Interest expense                                                                   -                       -                      -                    -                    -                    -                     -
Interest income                                                                    -                       -                      -                    -                    -                    -                     -
Equity in the earnings of investees and rental income                              -                       -                      -                    -                    -                    -                     -
Income (loss) before provision (benefit) for corporate incom                    11                      (3)                      (0)                  5                    (3)                   3                   (14)
Total taxes                                                                        -                       -                      -                    -                    -                    -                     -


Net income (loss)                                                               11                      (3)                      (0)                  5                    (3)                   3                   (14)
Non-controlling interest                                                           -                       -                      -                    -                    -                    -                     -
Net income (loss) attributable to TSI                           $               11 $                    (3) $                    (0) $                5 $                  (3) $                 3 $                 (14)


Note:
On a consolidated basis the operating loss net of the
impairment of right-of-use assets for the 204 Debtors is
approximately ($5.2M) for the month of November 2020.




                                                                                                                                                                                                                       FORM MOR-2
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In re: Town Sports International, LLC et al.                                                          Case No. 20-12168 (CSS)
                    Debtors                                                                        Reporting Period: 11/30/2020

                                  204 DEBTORS - CONSOLIDATED BALANCE SHEET
                                              As of November 30, 2020

In 000's of US Dollars
                                                                                                        Consolidated




                                                                                       Notes
                                       Account                                                           204 Debtors

  Cash and cash equivalents                                                            [1] $                                23,963
  Accounts receivable, net                                                             [2]                                    (110)
  Inventory                                                                                                                     (0)
  Deferred tax assets current                                                                                                    -
  Intercompany receivable due from Town Sports Group, LLC                                                                    3,962
  Prepaid corporate income taxes                                                                                                 -
  Prepaid expenses and other current assets                                            [3]                                  17,046
 Total Current assets                                                                                                       44,861
  Fixed assets, net                                                                                                         39,884
  Operating lease right-of-use assets                                                                                      271,831
  Goodwill                                                                                                                  15,192
  Intangible assets, net                                                                                                     4,506
  Deferred membership costs                                                                                                    625
  Other assets                                                                                                               7,187
 TOTAL ASSETS                                                                                  $                           384,086

  Debt - Short Term                                                                                                              -
  DIP Loan                                                                                                                  38,625
  Current portion of operating lease liabilities                                                                                (0)
  Accounts payable                                                                                                           1,869
  Accrued expenses                                                                                                           9,536
  Accrued interest & fees                                                                                                      783
  Deferred revenue - short term                                                                                                 62
  Deferred tax liability - Short term                                                                                            -
 Total Current liabilities                                                                                                  50,875
  Mortgage Payable - Long Term                                                                                                   -
  Long-term operating lease liabilities                                                                                          -
  Deferred tax liability - Long term                                                                                             -
  Deferred revenue - Long term                                                                                                   -
  Other liabilities                                                                                                            273
  Intercompany Note - Captive Insurance                                                [4]                                  32,501
  Liabilities Subject to Compromise                                                                                        835,207
 TOTAL LIABILITIES                                                                             $                           918,856

  Common stock                                                                                                                (100)
  Additional paid-in capital                                                                                                58,998
  Retained earnings                                                                                                       (593,668)
 Total Equity                                                                                  $                          (534,770)

 TOTAL LIABILITIES AND EQUITY                                                                  $                           384,086



Note:
[1] The cash and cash equivalents on the Debtors' balance sheet in MOR-3 reflects a contra asset of $68k against restricted cash.
Those amounts are included in MOR-1 but not MOR-1A.
[2] In the ordinary course of business, the Debtors record amounts related to uncollectible accounts on a consolidated basis in the
books and records of Town Sports International, LLC, and it is the Debtors' customary practice to reserve accounts receivable at
100%. The accounts receivable on the Balance Sheet reflects a negative balance which is due to unapplied receipts.
[3] Includes approximately $10.4M in reserves with credit card processors.
[4] Intercompany note - Captive Insurance is due to TSI Insurance, Inc.




                                                                                                                                      FORM MOR-3
                                                                                                                                           (04/07)
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In re: Town Sports International, LLC et al.                                                                                                        Case No. 20-12168 (CSS)
                                                                                                                              Reporting Period: 11/1/2020 through 11/30/2020
                   Debtors

                                                              STATUS OF POSTPETITION TAXES



Pursuant to the Final Order, Pursuant to Sections 105(a), 363(b), 507(a)(8), 541, 1107(a) and 1108 of the Bankruptcy Code, (I) Authorizing the Debtors to Pay
Certain Prepetition Taxes and Fees and Related Obligations, (II) Authorizing Banks to Honor and Process Check and Electronic Transfer Requests Related Thereto,
and (III) Scheduling a Final Hearing [Docket No. 198] (the “Taxes Order”), the Debtors have been granted the authority to pay, in their discretion, certain tax
liabilities that accrued prepetition. The Debtors attest that, to the best of their knowledge, each of the Debtors have filed all necessary federal, state, and local tax returns
and made all required post-petition payments in connection therewith.

                                                     SUMMARY OF UNPAID POSTPETITION DEBTS

In 000's of US Dollars
                                                                                                            Number of Days Past Due
                                                                   Current                  0-30             31-60          61-90                Over 90             Total
Accounts Payable - Consolidated Debtors                                       1,869                   -              -              -                        -   $       1,869




                                                                                                                                                                     FORM MOR-4
                                                                                                                                                                          (04/07)
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In re: Town Sports International, LLC et al.                                                                                                                 Case No. 20-12168 (CSS)
                   Debtors                                                                                                             Reporting Period: 11/1/2020 through 11/30/2020




                                                                    ACCOUNTS RECEIVABLE AGING
                                                                                                                           Number of Days Past Due
Accounts Receivable Aging                                                                            0-30          31-60           61-90             Over 90             Total
Consolidated Debtors - Net AR[1]                                                                            -              -                -                  -                   -

Note:
[1] In the ordinary course of business, the Debtors' reserve Accounts Receivable at 100% and therefore reflect a zero balance.

                                                               DEBTOR QUESTIONNAIRE

Must be completed each month                                                                         Yes           No
1. Have any assets been sold or transferred outside the normal course of business
                                                                                                                    X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession
                                                                                                                    X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                      X
   below.
4. Are workers compensation, general liability and other necessary insurance
                                                                                                      X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide
   documentation identifying the opened account(s). If an investment account has been opened                        X
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.




                                                                                                                                                                            FORM MOR-5
                                                                                                                                                                                 (04/07)
